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                                 Appeal No. 22-3190


               IN THE UNITED STATES COURT OF APPEALS
                      FOR THE SEVENTH CIRCUIT


                        PROTECT OUR PARKS, INC., et al.,
                             Plaintiffs-Appellants,

                                          v.

       PETE BUTTIEGIEG, SECRETARY OF THE U.S. DEPARTMENT OF
                      TRANSPORTATION, et al.,
                         Defendants-Appellees.


                     Appeal from the United States District Court
                         for the Northern District of Illinois
                                 Hon. Robert Blakey
                                    1:21-cv-02006


     PLAINTIFFS-APPELLANTS PROTECT OUR PARKS, INC., ET AL.’S
                        OPENING BRIEF


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Attorneys for Plaintiffs-Appellants


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                                 APPEARANCE & CIRCUIT RULE 26.1 DISCLOSURE STATEMENT

                    22-3190
Appellate Court No: _______________

               Protect Our Parks, Inc., et al. v. Pete Buttigieg, Secretary of the U.S. Dept. of Transportaion
Short Caption: _________________________________________________________________________________________

   To enable the judges to determine whether recusal is necessary or appropriate, an attorney for a non-governmental party, amicus curiae,
intervenor or a private attorney representing a government party, must furnish a disclosure statement providing the following information
in compliance with Circuit Rule 26.1 and Fed. R. App. P. 26.1.

   The Court prefers that the disclosure statements be filed immediately following docketing; but, the disclosure statement must be filed
within 21 days of docketing or upon the filing of a motion, response, petition, or answer in this court, whichever occurs first. Attorneys are
required to file an amended statement to reflect any material changes in the required information. The text of the statement must also be
included in the front of the table of contents of the party’s main brief. Counsel is required to complete the entire statement and to use
N/A for any information that is not applicable if this form is used.

          [     ]   PLEASE CHECK HERE IF ANY INFORMATION ON THIS FORM IS NEW OR REVISED AND
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(1)       The full name of every party that the attorney represents in the case (if the party is a corporation, you must provide the corporate disclosure
          information required by Fed. R. App. P. 26.1 by completing item #3):
           Protect Our Parks, Inc., Nichols Park Advisory Council, Stephanie Franklin, Sid E. Williams, Bren A. Sheriff,
          ________________________________________________________________________________________________________

          W.J.T. Mitchell, and Jamie Kalven
          ________________________________________________________________________________________________________

(2)       The names of all law firms whose partners or associates have appeared for the party in the case (including proceedings in the district court or
          before an administrative agency) or are expected to appear for the party in this court:
           Richard Epstein, Rachlis Duff & Peel, LLC (Michael Rachlis), Gardiner Koch Weisberg & Wrona (Thomas G. Gardiner
          ________________________________________________________________________________________________________

          ________________________________________________________________________________________________________
          and Catherine M. Keenan)

(3)       If the party, amicus or intervenor is a corporation:

          i)        Identify all its parent corporations, if any; and

                     None
                    ________________________________________________________________________________________________

          ii)       list any publicly held company that owns 10% or more of the party’s, amicus’ or intervenor’s stock:

                     None
                    ________________________________________________________________________________________________

(4)       Provide information required by FRAP 26.1(b) – Organizational Victims in Criminal Cases:

          ________________________________________________________________________________________________________

(5)       Provide Debtor information required by FRAP 26.1 (c) 1 & 2:

          ________________________________________________________________________________________________________



                      /s/ Richard Epstein
Attorney’s Signature: ________________________________________       December 23, 2022
                                                               Date: ________________________________________

                         Richard Epstein
Attorney’s Printed Name: __________________________________________________________________________________

Please indicate if you are Counsel of Record for the above listed parties pursuant to Circuit Rule 3(d).         ✔ No _____
                                                                                                           Yes _____

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                    ________________________________________________________________________________________________

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          ________________________________________________________________________________________________________

(5)       Provide Debtor information required by FRAP 26.1 (c) 1 & 2:

          ________________________________________________________________________________________________________



                      /s/ Michael Rachlis
Attorney’s Signature: ________________________________________       December 23, 2022
                                                               Date: ________________________________________

                         Michael Rachlis
Attorney’s Printed Name: __________________________________________________________________________________

Please indicate if you are Counsel of Record for the above listed parties pursuant to Circuit Rule 3(d).                  ✔
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                      JURISDICTIONAL STATEMENT

      The district court had subject matter jurisdiction over the underlying

action pursuant to 28 U.S.C. § 1331 (federal question), as well as 28 U.S.C.

§ 1367(a) (supplemental jurisdiction). The federal statutes involved in the

case are 5 U.S.C. § 706, 23 U.S.C. § 138(a), 42 U.S.C. §§ 4321-4347, 49

U.S.C. § 303(c), 54 U.S.C. § 306108, and 54 U.S.C. §§ 200501-200511.

      The United States Court of Appeals for the Seventh Circuit has

appellate jurisdiction over this appeal pursuant to 28 U.S.C. § 1291. On

November 3, 2022, the district court entered a final judgment in favor of

Defendants [A.040-A.043]. On that date, the court entered judgment for

Defendants on Plaintiffs’ seven remaining claims for violation of various

federal statutes brought against the heads of various federal agencies

acting in their official capacities, based on the reasoning set forth in the

District Court’s prior ruling on the Plaintiffs’ Motion for Preliminary

Injunction. [A.044-A.092] Previously, on March 29, 2022, the District

Court dismissed all of Plaintiffs’ state law claims [A.003-A.039], and on

January 6, 2022, the District Court denied Plaintiffs leave to amend their

complaint [A.001-A.002]. Plaintiffs timely filed a notice of appeal on

December 5, 2022. See Fed. R. App. Pro. 4(a)(B)(iii).



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                         STATEMENT OF ISSUES

      Did the District Court err in dismissing Plaintiffs’ state law claims

including their claims that the transfer of 19.3 acres of the heart of

Jackson Park to the Barack Obama Foundation (the “Foundation”) was in

violation of the public trust doctrine, that the City of Chicago’s (the “City”)

conduct as alleged in the entire complaint was ultra vires and in violation

of the Illinois Constitution?

      Did the District Court err in denying Plaintiffs leave to file its one

and only proposed First Amended Complaint that pleaded new claims

based on new evidence supporting both direct and derivative actions

alleging the failure to comply with express conditions precedent required

to take legal possession of the same acres in Jackson Park as mandated in

the controlling master agreement between the City and the Foundation?

      Did the District Court err in dismissing Plaintiffs’ cause of action for

violation of Illinois law for the City’s unprecedented delegation of

authority to a private party with conflicting interests, and when the City’s

resolutions and conduct expressly allowed the Foundation total discretion

to select, solely for its own benefit, the public trust land for the

construction of the Obama Presidential Center (“OPC”) and the



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commensurate destruction of Jackson Park, its roadways, trees, and

surrounding area?

      Did the District Court, contrary to the Supreme Court’s decision in

Overton Park v. Volpe, and other recent Supreme Court authority, extend

uncritical deference to the federal governmental reviews under various

federal statutes including, inter alia, the National Environmental Policy

Act of 1969 (“NEPA”) and the Department of Transportation Act of 1966

(“TA” or “Section 4(f)”) in defining the scope of the project as well as in

determining that no Environmental Impact Statement (“EIS”) was

necessary, thereby allowing for the destruction of hundreds of mature

trees and established migratory bird habitats in the world-famous

historical Frederick Law Olmsted park?

      Is the District Court’s decision that the OPC is not a unified and

intertwined project supported by federal funds and approvals an improper

segmentation of a single project in violation of NEPA, Section 4(f) and

other federal environmental and historic preservation statutes?

                             INTRODUCTION

      The City of Chicago’s Lakefront along with the City’s public trust

property, public parks, trees, migratory bird habitats and other

environmental elements are in grave danger. The danger has reached its


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zenith as the City and the Chicago Park District acted to transfer to a

private entity for a private use a critical 19.3-acre portion of priceless and

irreplaceable lakefront public property in historic Jackson Park. That deal

represents a rare trifecta of horrific public policy schemes with tragic

environmental consequences and historically poor outcomes.

      First, pursuant to the self-interested demands of the Foundation, the

City and the Park District submissively contorted themselves to turn over

possession and control of the public site in a “give away” deal under which

the Foundation paid a laughable infinitesimal amount—$10—for a

priceless historical Olmsted site worth easily hundreds of millions of

dollars.

      Second, the Foundation appears to have failed to satisfy the

conditions precedent to taking possession of the site under the Master

Agreement of May 19, 2019, between the City and the Foundation. More

specifically, and as Plaintiffs attempted to raise in their one and only

proposed amended complaint, the Foundation did not establish that it had

the required sufficient funds to complete the development as required by

its agreement with the City. Nor did it fund a sufficient endowment to

maintain, operate and improve the OPC. Yet, only three days after it

gained possession, the Foundation precipitously rushed in and clearcut at


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least 300 standing old growth trees, which figure will increase by two or

three times if the project proceeds as is currently planned.

      Third, the Foundation picked the treasured Olmsted Park without

complying with federal policy and the unambiguous dictates of both NEPA

and Section 4(f), which allow for its use “only if (1) there is no prudent and

feasible alternative to using that land.” In this case, using “that land”

manifestly referred to “the construction of the OPC in Jackson Park by the

Obama Foundation.” However, to forestall the review of alternatives

necessitated by federal law, the Defendants acted as if the relevant project

was confined to the modification of DuSable Lake Shore Drive, Stony

Island Avenue, and Cornell Avenue, none of which would have been

touched if there had been no plans for the OPC. This illegal segmentation

infected both directly and indirectly all of the complained of federal

reviews, and brought on (and will bring further) destruction of trees, bird

and wildlife habitats, and the unprecedented eradication of the historic

features of Olmsted’s Jackson Park. All of this destruction is and will

transpire without reviews of alternatives and without conducting an EIS.

      The letter and spirit of longstanding federal laws have utterly

broken down, as the District Court abjectly deferred to federal agencies

with oversight responsibility (who themselves largely deferred to the City


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and Foundation). In so doing, the Defendants artificially concocted and

deconstructed a single ever-expanding project into its constituent smaller

pieces so that various reviews concentrated exclusively on road

construction only after the piecemeal destruction of Jackson Park. This

appeal allows this Court to stop these problematic diversions from

established state and federal law.

                       STATEMENT OF THE CASE

      A. Jackson Park’s State Law Dedication Provides That It
         “Shall Be Held As A Public Park, For The Recreation,
         Health And Benefit Of The Public, And Free To All Persons
         Forever.”

      In Frederick Law Olmsted’s Jackson Park, only about 200 out of its

551 acres are open clear, and free green space, as the remainder covers

two large bodies of water (the west and east lagoons), limited access areas

(i.e., golf course), buildings, and its critical roadways and vistas, including

key integral transportation routes such as Cornell Drive, the Midway

Plaisance, Marquette Drive and Hayes Drive. [A.110-A.111, A.118-A.119,

Compl. ¶¶ 54, 78; Dkt. 80, Ex. 12, Balkany Decl.; Dkt. 31-1, Ex. 2, Mitchell

Decl.] Olmsted’s unique conception and Jackson Park’s precise

construction had been continually honored and respected since the Park’s

founding in 1871, through nurtured plantings of robust trees, varieties of



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natural shrubbery and flowery landscaping and grassy meadows, prudent

maintenance, and pragmatic upgrades of its landscape, vistas, and related

pathways and service streets and roads. [A.117-A.118, Compl., ¶ 77]

      Notably, Jackson Park was uniquely created and dedicated as public

park by a specific land grant from the Illinois legislature in 1869 to the

Park Commissioners, placing it in the public trust. Its grant operates in

perpetuity, such that that the demised property “shall be held, managed

and controlled by [the Commissioners] and their successors as a public

park, for the recreation, health and benefit of the public, and free to all

persons forever.” [Private Laws, 1869, vol. 1, p. 360; see A.105, A.160,

Compl. ¶¶ 37, 226.]

      B. The Foundation Decides Where to Place The OPC and the
         Parameters of the Development, Irrespective of its
         Destruction of the Park and its Trees, Historic Roadways
         and the Midway.

      Around 2014 and 2015, the Foundation started looking for a site for

what was proposed to be a traditional presidential library, like the

thirteen already in existence in private locations all around the country.

Defendants City of Chicago and the Park District, under direction of then

city Mayor Rahm Emanuel, former Chief of Staff to the former president,

gave the Foundation free rein in choosing that site. [A.108, A.167, Compl.



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¶¶ 45, 256]. So without further substantive discussion, debate or review,

whatever the Foundation asked of the City, it got. [A.113-A.115, Compl.,

¶¶ 63-68]

     By deferring to the Foundation, at no point did the City perform its

fiduciary duty and conduct the required due diligence to independently

identify and negotiate to secure the best location for the repurposed

private OPC, which as matter of tradition, public interest and law did not

have to be built on public parkland at all, when one superior site lies to

the west of Washington Park, along with other sites on the South Side of

Chicago. Instead, and in full deference, the City shrugged off all the

Jackson Park negatives. [See A.108-A.110, Compl. ¶¶ 46-47, 52-53] The

City conducted a few pro forma public hearings. Minutes after these

hearings were concluded, the City instantaneously ratified its

predetermined approval of the OPC proposals -- including its 235-foot

tower and numerous other buildings -- without any actual further

deliberations on the project’s many legal, environmental, and historic

public policy concerns created by this expansive private development on

public parkland. [A.112, Compl., ¶¶ 58-62]




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     C. Federal Reviews Are Performed Without Alternative Sites
        Considered Despite Adverse Effects Under Various
        Federal Statutes.

       The OPC’s linked massive roadway “improvements” project was

backed by some $200 million federal dollars, which in turn triggered, and

required, major federal regulatory reviews and permitting requirements

under the following statutes: (1) Section 4(f) of the Department of

Transportation Act, 49 U.S.C. § 303(c) and 23 U.S.C. § 138(a); (2) Section

106 of the National Historic Preservation Act, 54 U.S.C. § 306108

(hereinafter “Section 106”); (3) the Urban Park and Recreation Recovery

Act (hereinafter “UPARR”), 54 U.S.C. §§ 200501-200511; (4) the National

Environmental Policy Act (“NEPA”), 42 U.S.C. §§ 4321-4347; (5)

permitting requirements under Section 404 of the Clean Water Act and

Section 408 of the Rivers and Harbors Act, which in turn were “subject to

continuing review under the National Environmental Policy Act and the

National Historic Preservation Act.” [See Dkt. 1-1, Compl. Ex. 1 (excerpt of

resolution from Chicago Department of Planning)]

     At all times, the City acted as a biased judge and jury despite the

ever present conflict of interests as it largely dominated the federal review

process. Starting in December 2017, it was at the forefront of the Section

106 process ostensibly conducted by Defendant Federal Highway


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Administration (“FHWA”). Initially, the FHWA correctly identified the

“undertaking” to include the construction of the OPC in Jackson Park by

the Foundation, the closure of roads to accommodate the OPC and to

reconnect fragmented parkland, the relocation of an existing track and

field on the OPC site to adjacent parkland in Jackson Park, and the

construction of a variety of roadway, bicycle and pedestrian improvements

in and adjacent to the park. [See Dkt.1-1, Compl. Ex. 3, January 16, 2020,

Assessment of Effect Report at 1] That report then concluded that the

“undertaking” created adverse effects on Jackson Park and the Midway

Plaisance “because it will alter, directly or indirectly, characteristics of the

historic property that qualify it for inclusion in the National Register.” [Id.

at 40, § 3.5.2.1]

      Yet, the federal agencies persistently refused to look at and consider

the existing alternatives presented which required review because of the

required search under the federal statutory mandates to avoid, minimize

or mitigate the park-wide adverse effects of this vast undertaking. Such

review would have led to different outcomes than those demanded by the

Foundation and City. [See, e.g., A.153, Compl. ¶ 200]

      These actions caused significant public outcry. For example, in a

Section 106 meeting on August 5, 2019, Abby Monroe, the City official in


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charge, refused to allow any direct questions from the floor, and

prescreened and edited all the written questions submitted. She halted

the meeting early to stifle any objections to the Jackson Park site or

mention of alternative sites on the South Side. [A.120, Compl. ¶ 81; Dkt.1-

1, Compl. Ex. 5] Thereafter, the pandemic only tightened the City’s grip on

the process. [A.116, A.166, A.168, Compl. ¶¶ 74, 252, 253, 263] 1 For

example, a May 2020 public meeting was sparsely attended because

individuals and groups were locked under stay-at-home orders due to

COVID-19. The next in-person meeting at a South Side location took place

on October 2020, just as local citizens were encouraged by the City to stay

home as COVID numbers spiked.

      At the same time, the federal government’s Section 4(f) report, over

multiple objections, approved the placement of the OPC just where

Foundation demanded. [Dkt. 1-2, Compl. Ex. 8 at 2] In so doing,


1 The City’s website (https://www.chicago.gov/city/en/depts/dcd/supp_info/jackson-
park-improvements.html) reports on these steps in the review process: (i) April 2020
– issuance of draft Section 4(f) reports; (ii) May 6, 2020 – “meeting” controlled by the
City about resolution of adverse effects; (iii) May 20, 2020 – a second meeting
controlled by the City about resolution of adverse effects (comments due May 26,
2020); (iv) July 2020 – MOA issued; (v) July 2020 – meeting on MOA; (vi) September
28, 2020 – Environmental Assessment issued requesting comments; (vii) October 13,
14, and 15, 2020 – meetings regarding EA including in person; (viii) October 30, 2020
– meeting regarding MOA; (ix) November 2020 – MOA Issued; (x) Section 4(f) report
issued; (xi) FONSI issued.



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Olmsted’s elaborate network of roads which forms an integral part of the

overall design, both for its scenic vistas and community transportation, is

approved for destruction. Shutting Cornell Drive and Midway Plaisance

South has already tied up traffic in and around Jackson Park. [Dkt. 1-2,

Compl. Ex. 10 at 12-14]

     Notwithstanding the momentous road closures, destruction of the

historic public park, and road expansions, the new report only focused on

the expansion of Lake Shore Drive and Stony Island Avenue, as

everything else was deemed “local” and thus not subject to Section 4(f), so

alternative sites for the OPC were not reviewed or mentioned—just as the

Foundation and City demanded from the outset.

     D. Despite the Development’s Size and Effects, the Federal
        Reviews Conclude Without Any Environmental Impact
        Statement Being Required.

      The initial required Environmental Assessment (EA) released at the

end of September 2020 acknowledged the plethora of adverse impacts,

which it then promptly dismissed as temporary, insignificant and/or

mitigated. [Dkt 1-2, Compl. Ex. 10] Among its astonishing claims was the

purported one-to-one parity between small replacement saplings five years

from today if the OPC is then completed and if they take root with the

immediate destruction of mature trees several feet in diameter. [A.143-


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A.144, Compl., ¶¶ 164-65]. Relatedly, it was claimed that about forty

percent (40%) of the targeted trees were in a “declining” condition. [Dkt.

46, p. 14] Yet, their own study concluded that ninety-two percent (92%) of

trees slated for removal were in good or fair condition [Dkt. 61-22, Fed.

Defs. Ex. 17, Part 1, Appendix D-1]

     The removal of those trees also compounds the systematic risks to

migratory birds, as does the noise and dust from the planned construction

work. In addition, erecting a 235-foot OPC tower building perched over to

the Mississippi flyway would only aggravate these losses. [A.144-A.145,

Compl., ¶¶ 167-69]

     Nonetheless, in February 2021, the federal agencies published a

Finding of No Significant Impact (“FONSI”), which accepted in full the

conclusions of the EA, as well as the Section 4(f) and Section 106 reviews.

[Dkt. 1-2, Compl. Ex. 11, FONSI at 1]. These finding are the building

blocks for which the other federal reviews rely and incorporate.




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      E. The Transfer of Land Demanded By The Foundation
         Under the Master Agreement.

      On August 13, 2021, the City and the Foundation, pursuant to the

Master Agreement, transferred the designated 19.3 acres to the

Foundation after claiming that all conditions precedent to the transfer had

been satisfied including, inter alia:

                  A.     Section 12(h): Construction Funds. The Foundation
                  shall have submitted to the City a certification that the
                  Foundation has received funds and/or gift pledge
                  commitments in writing that in the aggregate equal or
                  exceed the Projected Total Construction Costs of the
                  Presidential Center.

                  B.     Section 12 (j): Endowment. The Foundation shall
                  have established an endowment having as its sole purpose
                  paying, as and when necessary, the costs to operate,
                  enhance and maintain the Presidential Center and the
                  other Project Improvements during the term of the Use
                  Agreement.

      However, as Plaintiffs’ proposed First Amended Complaint alleged,

[Dkt. 107, Pls’ Mtn. to Amend Compl., Ex. 1] neither condition was met.

Contrary to the terms of Section 12(j) of the Master Agreement, the

Foundation had not received gift pledges and commitments that equaled

or exceeded the total construction costs of the OPC. [Id., ¶ 292] The

Foundation claimed that it had complied with Paragraph 12(h), when it

certified that it had “received” $485 million, a figure close to the stated

$482 million in anticipated costs of construction at the time (March 2021).

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Nonetheless before the August 13th closing date, the president of the

Foundation, Valerie Jarrett, announced that the cost of the “bricks and

mortar” to build the OPC “is a little less” than $700 million, or over $200

million more than the figure used in the March 13, 2021, certification.

[Id., ¶ 297] Beyond the obvious discrepancy, the failure to update the

financial records was in breach of Section 13(iv) of the Master Agreement

which required the Foundation at closing to show that it still met the

financial requirements. [Dkt. 1-1, Compl. Ex. 2 at 85961]

     Separately, the Foundation acknowledged that it needed to raise an

endowment of $470 million to cover operations, maintenance, and

improvements of the OPC. But, as evidenced by the Foundation’s 990 tax

form and its audited financial reports, it had contributed to that fund only

$1 million as of June 2021. [Dkt. 107, Ex. 1, ¶ 300]

     F. Procedural History.

     On April 14, 2021, Plaintiffs filed their Complaint [A.093-A.174],

which was initially assigned to Judge Jorge Alonso. The City then moved

to transfer the case to Judge John Robert Blakey, who had presided over

an earlier case with one of the plaintiffs and two of the defendants, but

which did not involve any federal statutory issues raised in the new

Complaint; and further in that prior matter, all rulings on the state court


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claims were reversed and dismissed for lack of subject matter jurisdiction

by this Court. Plaintiffs opposed such a transfer, but before any written

submission could be made, Judge Blakey issued a minute entry asking

that the matter be assigned to him as “related” to the earlier case [see

Dist. Ct. Case No. 18-cv-3424, Dkt. 178] Judge Blakey also stated that he

discussed the matter with Judge Alonso, who agreed to the transfer. [Id.]

The Executive Committee assigned the matter to Judge Blakey on June 8,

2021. [Dkt. 17]

     On June 15, 2021, Plaintiffs filed their motion for preliminary

injunction, seeking to stop construction of the OPC pending the review of

their case on the merits. [Dkt. 30] After briefing, the District Court

issued a one sentence order denying Plaintiffs’ motion for preliminary

injunction, without an opinion, which was thereafter issued on August 12,

2021. [A.044-A.092] That interlocutory decision was later affirmed by this

Court. See 39 F. 4th 389 (7th Cir. 2022).

     The City and the Obama Foundation also filed, on June 15, 2021, a

Rule 12(b)(6) motion to dismiss Plaintiffs’ state law claims. [Dkt. 28]

After the motion was briefed and argued [Dkts. 29, 69, & 78-1], on March

29, 2022, the District Court granted Defendants’ motion. [A.003-A.039]

The Plaintiffs then sought an order under Fed. R. Civ. Pro 54(b) to


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immediately appeal the dismissal of both state law claims, which request

was denied on July 1, 2022. [Dkt. 127]

      In light of the newly discovered financial shortfalls with regard to

the City’s transfer to the Foundation in August 2021 discussed in Section

E, supra, Plaintiffs sought to amend their complaint for the first and only

time. [Dkt. 107] On January 6, 2022, the day after briefing was

completed, Judge Blakey denied leave to amend, stating that the Plaintiffs

had brought a third-party beneficiary claim barred under Section 34 of the

Master Agreement. [See A.001] The Plaintiffs, however, did not make

such a claim, but rather pleaded two counts for breach of the Agreement

under separate theories, one direct and one derivative. [Dkt. 107, Ex. 1]

      After the Seventh Circuit affirmed the preliminary injunction ruling

on July 1, 2022, the parties stipulated that there were no disputes over the

scope of the administrative record, no pertinent facts outside the

administrative record, and no disputed issue of fact material to the

disposition of the remaining federal claims. [Dkts. 138, 146] Accordingly,

the District Court entered judgment for the Defendants on all seven of the

federal claims claims for the reasons set forth in the District Court’s

preliminary injunction ruling. [A.041-A.043]




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                       SUMMARY OF ARGUMENT

      The District Court misinterpreted key fundamental state law

principles in its Rule 12(b)(6) decision in favor of the City, Park District

and Foundation in the Foundation’s unprecedented effort to seize and take

control of historic Jackson Park, exposed by the District Court’s ill-founded

simulacrum public trust analysis, its unsupported ruling on improper

delegation, and the hasty and ill-thought out rejection of Plaintiffs’ one

request for leave to amend.

      With disastrous public policy and national consequences, the District

Court has also clearly erred in interpreting every relevant precedent of

NEPA, Section 106, and Section 4(f) to allow the Defendants to skirt the

required rules of segmentation by engaging in a novel “no-look” review of

the OPC project. The District Court closed its eyes to the Defendants’

gambit of a self-serving narrow redefinition of their project in order to

block honest and objective consideration of any feasible alternative outside

of Jackson Park. However, the standard of review applied by the District

Court is contrary to the operative test set forth in Citizens to Preserve

Overton Park, Inc. v. Volpe, 401 U.S. 402 (1971), which states that:

      [T]he generally applicable standards of § 706 require the reviewing
      court to engage in a substantial inquiry. Certainly, the Secretary’s
      decision is entitled to a presumption of regularity. But that


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      presumption is not to shield his action from a thorough, probing, in-
      depth review.

Overton Park, 401 U.S. at 415 (citations omitted).

      Against this clear imperative, the District Court allowed the

Defendants to use an impermissibly perverse definition of a major federal

action that necessarily dismembered Jackson Park and eliminated

examination of any alternative site for the OPC outside of Jackson Park,

thereby wrongfully dooming Plaintiffs’ claims challenging the flawed

reviews and the Federal Defendants’ failure to prepare an EIS.

                        STANDARD OF REVIEW

      An appellate court reviews de novo a district court’s grant or denial of

a motion to dismiss under Rule 12(b)(6). See, e.g., Tamayo v. Blagojevich,

526 F.3d 1074, 1081 (7th Cir. 2008) (reversing grant of motion to dismiss).

A denial of a motion for leave to amend is examined on an abuse of

discretion standard. Dubicz v. Commonwealth Edison Co., 377 F.3d 787,

793 (7th Cir. 2004) (reversing trial court decision denying leave to amend).

The findings in support of the summary judgment for the Defendants on

the federal review claims are normally reviewed on a de novo basis, and

must be set aside if an agency determination is arbitrary, capricious, an

abuse of discretion, or otherwise not in accordance with law, or if it is



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unsupported by substantial evidence. See Orchard Hill Building Co. v.

United States Army Corps of Engineers, 893 F.3d 1017, 1023-24 (7th Cir.

2018) (reversing summary judgment).

                                ARGUMENT

      I.    The District Court Erred In Its Rule 12 Dismissal Of
            Plaintiffs’ State Court Claims For Violation of Public
            Trust, Ultra Vires And Related Constitutional
            Violations.

      The decision of the District Court reveals its fundamental

misunderstanding of the origin and function of the public trust doctrine.

The public trust doctrine has constitutional dimensions that the

legislature cannot avoid by simply authorizing the challenged conduct.

See, e.g., Illinois Constitution, Article I, Section 12, “Every person shall

find a certain remedy in the laws for all injuries and wrongs which he

receives to his person, privacy, property or reputation. He shall obtain

justice by law, freely, completely, and promptly.” Yet the decision below

repeatedly stated that once the legislature has spoken, the courts must do

its bidding no matter what the purpose or terms of the challenged

transaction. It was reversible error to dismiss Plaintiffs’ public trust

claims (or any of their related constitutional claims (Counts VIII and

XIII)) on the ground that “sufficient legislative intent exists” in the



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Museum Act to permit diverting a portion of Jackson Park for the

Presidential Center as the District Court did below. [A.015, Order at 13]

      A.    The District Court Erred In Its “Sufficient Legislative
            Intent” Analysis.

      In People ex rel. Scott v. Chicago Park District, 360 N.E.2d 773 (Ill.

1976), the Illinois Supreme Court wrote: “While the courts certainly

should consider the General Assembly’s declaration that given legislation

is to serve a described purpose, this court recognized . . . that the ‘self-

serving recitation of a public purpose within a legislative enactment is not

conclusive of the existence of such purpose.’” Id. at 781 (citation omitted).

Scott’s precise holding applied to the state’s transfer of tidal lands to a

private party, but its overarching principle reaches all forms of

government abuse. Scott also relied on Joseph Sax, The Public Trust

Doctrine in Natural Resource Law: Effective Judicial Intervention, 68

MICH. L. REV. 471, 490 (1970): “‘When a state holds a resource which is

available for the free use of the general public, a court will look with

considerable skepticism upon any governmental conduct which is

calculated either to reallocate that resource to more restricted uses or to

subject public uses to the self-interest of private parties.” Scott, 360

N.E.2d at 780 (citing Sax). While Illinois law does not contain any flat



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prohibition against the transfer of public property to private ownership, it

does insist that a state or municipality, like any fiduciary, must receive

fair value for the property that it so transfers, just like any private

trustee. The duty is constant regardless of the type of property. It is thus

wholly irrelevant that the trust property is fully submerged, formerly

submerged, or never submerged, contrary to the District Court’s decision.

[A.012, Order at 10]

      Accordingly, it is settled that both private and public trustees are

subject to duties of loyalty, good faith and care. Robert Natalson, Legal

Origins: 57-60 in the Origins of the Necessary and Proper Clause, Gary

Lawson, et al. Elsewhere, Natalson has written emphatically: “I have not

been able to find a single public pronouncement in the constitutional

debate contending or implying that the comparison of government officials

and private fiduciaries was inapt.” Natalson, The Constitution and the

Public Trust, 52 BUFF. L. REV. 1077, 1086 (2004).

      Thus Milhau v. Sharp, 15 Barb. 193, 206-07 (N.Y. Gen Term 1853),

overturned a contract for constructing an elevated private train down

Broadway, issued for a “trifling” sum well below other competitive bids.

Milhau is consistent with the historical view that any trust over any kind

of resource, whether public or private, imposes a standard set of fiduciary


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duties—loyalty, care, and candor—on all trustees. Yet against the

uniform weight of history, practice, and precedent, the District Court

wrongly stated that Illinois public trust cases require that courts act as if

different levels of deference are required based upon the property’s

relationship to navigable waterways.

      Contrary to the District Court’s analysis, whether land was

currently submerged, formerly submerged or never submerged has

absolutely nothing whatsoever to do with the appropriate level of care

required by the government in public trust cases. Nor is it correct to say

that a court should never engage in second-guessing the particular merits

of legislative judgments. A similar standard, if applied to private

fiduciaries, would gut the entire doctrine and give self-interested political

actors massive opportunities for looting and abuse. Some judicial oversight

is strictly necessary, as Scott explicitly holds, and which the District Court

failed to do despite Rule 12’s motion requirement that all inferences from

the well-pled allegations be interpreted in favor of the non-moving party.

Just as governments cannot confiscate property without paying just

compensation, in the public trust context the correct synthesis reads “nor

shall public property be transferred to private use, without just

compensation.” See Richard A. Epstein, The Public Trust Doctrine, 7 Cato


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J. 411 (1987). The just compensation element plays no role in public-to-

public transfers, but it is critical in public-to-private transfers. Private

parties must compensate public bodies either in cash or kind, for the

property they receive.

      The District Court multiplies its errors by misreading Paepcke v.

Public Bldg. Comm’n of Chicago, 263 N.E.2d 11 (Ill. 1970) when asking

how to interpret grants that do not contain an explicit authorization of

government action. Id. at 18-21. In Paepcke, four acres in Washington

Park, out of a total of 380, were transferred from use as park land to

become the site of a public school. Id. at 14. In contrast here, a huge

chunk of Jackson Park – including arguably the most valuable acreage – is

given away to a private party under a 99-year “use agreement” (i.e., a

disguised lease) for $10 in cash.

      This transfer at issue is flatly inconsistent with the initial dedication

to the Park Commissioners. 1869 Statute, §§ 1, 4. Supreme Court

authority states that these specific grants follow the rules applicable to

patents and land grants, such that once issued, they are “entitled to the

same legal protection as other property,” and thus cannot be set aside by

legislative action. See McCormick Harvesting Machine Co. v. C. Aultman

& Co., 169 U.S. 606, 608-09 (1898).


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      Justice Burt in Paepcke well knew that these legislative dedications

could not be repealed or modified at will. He therefore sought to find a

middle path between two extremes. The dedication should not be so

literally construed as to admit no exceptions for converting parkland to

some other public use. Nor should it be gutted so that it imposed no

restrictions at all. Ultimately, he concluded:

      [W]e think it appropriate to refer to the approach developed by
      the courts of our sister State, Wisconsin, in dealing with
      diversion problems. In at least two cases, City of Madison v.
      State, 1 Wis.2d 252, 83 N.W.2d 674; and State v. Public Service
      Com., 275 Wis. 112, 81 N.W.2d 71, the Supreme Court of
      Wisconsin approved proposed diversions in the use of public
      trust lands under conditions which demonstrated (1) that public
      bodies would control use of the area in question, (2) that the area
      would be devoted to public purposes and open to the public, (3)
      the diminution of the area of original use would be small
      compared with the entire area, (4) that none of the public uses
      of the original area would be destroyed or greatly impaired and
      (5) that the disappointment of those wanting to use the area of
      new use for former purposes was negligible when compared to
      the greater convenience to be afforded those members of the
      public using the new facility. We believe that the present plans
      for Washington Park meet all of these tests.

Paepcke, 263 N.E.2d at 19.

      The District Court wrongly read Paepcke, 263 N.E.2d at 19, to hold

that, because the OPC site sits upon never-submerged land, reviewing

“courts need only examine whether there exists ‘sufficient manifestation of

legislative intent to permit the diversion and reallocation’ at issue” [A.


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015, Order at 13], without assessing how all five portions of the Paepcke

test apply to the OPC transaction.

      First, the conversion of a part of Washington Park to a school did not

strip the public of its control over any portion of Washington Park. In

contrast, the OPC deal cedes control over a huge section of Jackson Park

to a private entity under a disguised 99-year lease. Second, a public school

is open to the public, but the OPC decides whom to admit to its facility and

why, along with other obvious safety issues that will create further

limitations on access. Third, the limited four-acre loss in Washington Park

is tiny relative to its total size, unlike the grant to the OPC, which

destroys a huge chunk, both by acreage and value, of Jackson Park. [See

Dkt. 31-1, Ex. 2, Mitchell Declaration] Fourth, the new school had only a

modest effect on other public uses in Washington Park, but the OPC will

transform huge portions – in excess of ten percent of usable space in

Jackson Park – by ripping out roads, cutting down trees, obstructing bird

migration, and removing historical resources. [A.118-A.119, Compl., ¶¶

78-79]. Fifth, the political opposition, if any, to the school in Paepcke was

limited. But the Foundation’s incursion into Jackson Park has been

wrapped in controversy from 2015 forward. Finally, the five Paepcke

factors never mention the huge subsidies conferred by the city, state and


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nation, on the OPC—which only strengthens the need for discovery to

determine the extent of the City’s giveaway in disregard of its public trust

obligations. These matters are not properly resolved on a Rule 12(b)(6)

motion.

      Paepcke also consciously uses the term “beneficiaries,” precisely

because the public trust doctrine follows the law of private trusts in

requiring duties of care and loyalty. Thus, it would be utterly pointless to

grant standing to give “meaning and vitality” as the Paepcke court did to

the state’s public trust obligation, only to conclude that all state actors are

immune from constitutional attack no matter how egregious their

behavior, simply by bowing to legislative intent.

      Justice Burt then charts a middle path between total rigidity and

total plasticity. In Reichelderfer v. Quinn, 287 U.S. 315 (1932), certain

lands “were perpetually dedicated and set apart as a public park or

pleasure ground for the benefit and enjoyment of the people of the United

States.” Id. at 317. Justice Harlan Fiske Stone held that the dedication’s

terms did not preclude the construction of a fire engine house in the park

over the protest of some nearby neighbors. 2 The fire engine house could


2
 Paepcke, 263 N.E. 2d at 17, cited multiple cases, all of which involve public-to-public
transfers. See, e.g., Thayer v. City of Boston, 206 F. 969 (D. Mass. 1913) (schoolhouse
in park).

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not be enjoined as either a private or public nuisance, see Restatement

(Second) Torts § 821B, Public Nuisance, because it did not unreasonably

interfere with the plaintiffs’ quiet enjoyment of his own property. Justice

Stone did not allow plaintiffs to circumvent that objection by insisting that

the public dedication conferred on them an “easement” to restrict that park

land solely for park purposes. But Stone’s opinion did not undermine

Paepcke’s central holding that citizens under Illinois law had an undivided

interest in public lands as beneficiaries, regardless of where they lived in

the City. Indeed, Justice Stone explicitly distinguished the failed neighbor

easement from the citizen standing cases. Thus, Douglass v. City Council

of Montgomery, 24 So. 745, 746 (Ala. 1898), held that land previously

conveyed to the City solely for use as a public park could not be reconveyed

to a private party for use as a railroad line, in what “appeared to be the

necessity of better transportation facilities and the exigencies of the public

business.” Nonetheless that conveyance “was an illegal transaction and a

fraud in law,” notwithstanding the absence of any specific intention on the

part of the city to engage in wrongful activity. When that grant to the

railroad failed, the property reverted to the next private party in the chain

of title.




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      B.    Subsequent Illinois Decisions Confirm That Plaintiffs
            Have Stated a Claim That Constructing the OPC In
            Jackson Park Violates the Public Trust Doctrine.

      The first important post-Paepcke case, Scott, supra at 21-22,

involved an explicit conveyance by the state of Illinois of 194.6 acres of

submerged land to the U.S. Steel Corporation for $19,460, its apparent fair

market value. Presumptively, the public trust doctrine permitted the

transfer because it “may afford foundation for wharves, piers, docks and

other structures in aid of commerce,” id. at 777, where “commerce” is a

broader term than “navigation.” Scott, however, set aside this transaction

solely because of its “adverse effect” on the use of other nearby public

waters. It also noted that “the sole purpose seems to be to appropriate the

submerged land for the private use of the railroad company. Here, too, we

can perceive only a private purpose for the grant.” Id. at 780-81. Scott

further bolsters Plaintiffs’ claim that the negative impacts on Jackson

Park (and its roads and vistas, as well as its lagoon, topography and the

like) far exceed in severity the relatively minor impacts sufficient to block

the transfer in Scott.

      Next, in Lake Michigan Federation v. U.S. Army Corps of Engineers,

742 F. Supp. 441 (N.D. Ill 1990) (Loyola), Judge Aspen wrote: “The very

purpose of the public trust doctrine is to police the legislature’s disposition


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of public lands. If courts were to rubber stamp legislative decisions, as

Loyola advocates, the doctrine would have no teeth.” Id. at 446. Judge

Aspen then struck down the University’s plan to expand its campus by

reclaiming (after receiving public approvals, city, state and federal) twenty

acres of submerged land in Lake Michigan. Loyola’s program protected

the shoreline from erosion, and would have constructed new athletic

facilities open to the reasonable public use, but subject to Loyola’s

ownership rights. “By the terms of the conveyance, Loyola is not allowed to

construct buildings or parking areas on the lakefill. The state also has a

right of reentry should Loyola attempt to transfer the property to any

entity which does not operate as a nonprofit educational institution.” Id. at

445. Judge Aspen nonetheless concluded that “while the project has some

aspects which are beneficial to the public, the primary purpose of the

grant is to satisfy a private interest [of expanding its campus],” and

further that the public will lose its current “unrestricted access to the

submerged lands.” Id. at 445-46. He then rejected Loyola’s argument that

“the public will gain from the construction of the lakefill is merely a value

dependent assessment of the best use of the property. This judgment is not

only highly subjective, but also irrelevant to an analysis of the propriety of

a grant of public land.” Id. at 446.


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      The scattered references to Loyola by the District Court [A.012,

Order at 10] use rose-colored glasses to bless the OPC transaction by

claiming a host of benefits such as cultural, artistic, and recreational

opportunities—such as an educational museum, branch of the Chicago

Public Library, and space for large-scale athletic events [See also A.020-21

A.033, Order at 18, 31] The Court never asked whether these promised

benefits were worth their cost, or even capable of being realized, and left

totally unmentioned the huge corresponding negative impacts.

      Indeed, an enormous chasm divides the two cases, as the Loyola deal

is far more favorable to the public than the OPC. In Loyola, the property

in question was kept open to the public; here the OPC will be kept under

the Foundation’s lock and key; in Loyola all construction was banned; here

massive and complex construction is contemplated; in Loyola, the

university incurred costs that benefitted the public (which Judge Aspen

noted); in the instant case, the OPC is only made possible with

government subsidies in cash and in kind that run to hundreds of millions

of dollars; in Loyola, all parties undertook exhaustive environmental

reviews; in the instant case, the “local” nature of the OPC project has

supplied the pretext to block any meaningful federal environmental and

other reviews of the OPC site; in Loyola, controlling erosion is a major


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environmental benefit; here, the construction of the OPC will pose

environmental threats to Jackson Park. If the Loyola deal was rightly

struck down, the OPC should be a goner. But even if the Loyola deal had

been allowed, the ample reasons to find public trust violations in regards

to private transfer in Jackson Park should preclude the dismissal of

Plaintiffs’ public trust claim under Rule 12(b)(6).

      Finally, in Friends of the Parks v. Chicago Park District, 2015 WL

1188615 (N.D. Ill. Mar. 12, 2015) (Lucas), Judge Darrah refused to grant

the Defendant’s Rule 12 motion to dismiss the Plaintiffs’ complaint, which

challenged the transfer of public trust land for the construction of the

Lucas Museum of Narrative Arts. Like Loyola, Lucas requires rejection of

the Defendants’ motion to dismiss in this case. In Lucas, the Plaintiffs

were prepared to spend millions of dollars their own money to build their

museum on an abandoned parking lot south of Soldier Field. That project

required no public subsidies, and did not dismantle a world-class public

park but only removed rubble from Chicago’s lakeshore. On balance,

while privately funding the Lucas project could have arguably produced a

net public benefit, if the defendants in Lucas could not achieve dismissal,

then the District Court erred in allowing that motion here.




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      C.    The “Use” Agreement Between The City and The
            Foundation Is a Sham Transaction That Violates
            the Public Trust Doctrine, Is Ultra Vires, and
            Violates Various Provisions of the Illinois
            Constitution By Covertly Transferring Ownership
            to The Foundation.

      Basic trust law does not allow trustees, both public and private, to

transfer any property held in trust to a private party unless, at the very

least, they receive full compensation for the property transferred. This

constraint cannot be evaded by the simple expedient of granting a long-

term lease of virtually identical value. In Lucas, Judge Darrah used this

principle to challenge the explicit lease arrangement between the Park

District and the Lucas Museum because “[t]he Complaint alleges enough

facts to state that Defendants intend to transfer the exclusive right to use

and control the Museum Site to a private entity. The Complaint plausibly

states a claim that the agreement violates the public trust doctrine.” 2015

WL 1188615 at *7.

      Under Lucas, the transfer of a 99-year lease for $10 in total is

tantamount to the outright transfer of the fee. It is pure fabrication to say

that under the OPC “use” agreement the City “retains” ownership of the

Presidential Center site, at least in the context of a Rule 12 motion. All the

economic value will go to the Foundation, so that the City’s so-called



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“ownership” interest consists of the right to receive no rents for 99 years

plus the right to repossess a depreciated building when the lease expires.

Indeed, Lucas sparked the City and the Obama Foundation to relabel their

proposed 99-year lease—originally denominated as such—into a “use”

agreement that executed the same transfer to the OPC of the 19.3 three

acres of Jackson Park for 99 years. The Court could not identify a single

substantive difference (because there is none) between the initial lease

and the hastily concocted use agreement, which in fact gave the

Foundation exclusive “use,” making the grant of Defendants’ motion to

dismiss wholly improper. See Pierce v. Pierce, 351 Ill. App. 336 (Ill. App.

1953) (finding lease to be equivalent of sale, such that right of partition

applied to leaseholder).

      This “use” agreement, moreover, differs substantively from the

transaction between the Chicago Bears and the Chicago Park District held

in Friends of the Parks v. The Chicago Park District, 786 N.E.2d 161 (Ill.

2003). The Bears’ control over Soldier Field was confined to a limited

number of days per year, which gave the Park District complete power to

lease Soldier Field in a three-year deal to the Chicago Fire soccer team.

“Chicago Fire Signs Deal with city to return to Soldier Field” Chicago

Business Journal, 10/8/2019,


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https://www.bizjournals.com/chicago/news/2019/10/08/chicago-fire-signs-

deal-with-city-to-return.html. As with other claims of supposed licenses,

courts must analyze the “economic realities” of the transaction. Microsoft

Corp. v. DAK Indus., Inc., 66 F.3d 1091, 1095 (9th Cir. 1995). “[T]he fact

that the agreement labels itself a ‘license’ ... does not control our analysis.”

Id. at 1095 n.2.

      Furthermore, as Plaintiffs’ constitutional claims in Counts VIII and

XIII rely upon the transfer and the sham nature of the “use” agreement, it

was erroneous for the Court to dismiss those claims for similar reasons.

[See A.163-A.164, A.168]

      Relatedly, the District Court erred in dismissing Plaintiffs’ ultra

vires cause of action. An act is generally “ultra vires” in two situations:

one, where the corporation has no power to take an act, and second where

the corporation has the power to perform an act and but exercises it

irregularly. See Branigar v. Village of Riverdale, 396 Ill. 534, 542 (1947).

Acts that abdicate public authority to a private party are ultra vires for

both reasons.

      The complaint viewed as a whole identifies many ultra vires

activities that cannot be resolved at the pleadings stage. One is the

convoluted effort to transfer property to a private party where the City


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abdicated control over the transaction to the Foundation, forcing continual

acquiescence to its demands (discussed also in Section II, infra). See 1550

MP Road LLC v. Teamsters Local Union No. 700, 2019 IL 123046 (Ill. Mar.

21, 2019) (holding that where a municipality exceeds its statutory

authority in entering into a contract, the municipality’s act is ultra vires,

and the resulting contract is void ab initio). A second is executing a

permanent transfer of public trust lands through a one-sided lease-turned-

use agreement [A.163-A.164, Compl. ¶¶ 239-240], controlled throughout by

the OPC. The District Court’s insistence that the City retained control

after the 99-year giveaway embodies both the hurried bias and rush to

judgment and a basic failure on a Rule 12 motion to review the complaint’s

allegations in the light most favorable to the non-moving party.

Furthermore, the City acted ultra vires by exerting improper dominance

and control throughout the federal review process – with the sole objective

of advancing the welfare of a private party. [A.116, Id., ¶ 74]

      The District Court ignored all these well-pleaded allegations in

rejecting the Plaintiffs’ ultra vires claim [A.026], when it wrongly stated

that “Defendants point out, the City’s actions in the 2018 federal review

process—undertaken after the Park District transferred the land to the

City and after the City executed the 2018 Use Agreement—have no


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bearing on whether state law authorized the land transfer or the 2018 Use

Agreement.” [Id.] Of course, the District Court’s adoption of the

Defendants’ self-serving statement is manifestly wrong: without obtaining

approvals through the federal review process, the project could not

proceed, as the City Council itself recognized. [Dkt.1-1, Compl. Ex. 2 at

85884] The allegations made were more than appropriate under Rule 12’s

notice pleading standards to establish ultra vires behavior.

     II.   The District Court Erred In Dismissing Plaintiffs’ State
           Law Claim For Improper Delegation.

     The 2015 Ordinance on its face delegated the selection of the site for

the OPC to the Obama Foundation:

           WHEREAS, While the City Council is confident in the
           quality and thoroughness of both UIC’s and UChicago’s
           proposals, the City defers to the sound judgment of the
           President and his Foundation as to the ultimate
           location of the Presidential Library. (Emphasis
           supplied.) [Dkt.1-1, Compl. Ex. 1, Ordinance at 4]

     Once that declaration was made, the City, without one dissenting

voice, dutifully did whatever the Foundation asked whenever it asked for

it. Thus, the Foundation dictated that Jackson Park would be the location

for the OPC campus (no longer a library as of 2016). [Dkt. 1-1, Compl. Ex.

2 at 85879-85881] The Foundation demanded that the City take over

control from the Park District, knowing that the City was much easier and


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simpler to control and manipulate, without Park District statutes in the

way. [Dkt. 1-1, Compl. Ex. 2 at 85883] Pursuant to plan, the Foundation

demanded, and promptly received, approval to eradicate traditional

landmarks in Jackson Park including the Midway Plaisance. It also cut

out the heart of Olmsted’s Jackson Park: “the Foundation has proposed

shifting the boundaries of the Original Site to the north and east to

incorporate portions of the Midway Plaisance and Cornell Drive, and

CDOT has proposed closing these and additional road segments within the

park.” [A.114, Compl. ¶ 66] Similarly, the City agreed to major expansions

of Stony Island Avenue and Lake Shore Drive, to allow for the closure of

Cornell Avenue to vehicular traffic, so that the OPC could be sited exactly

where the Foundation dictated. “The need for the FHWA action arises as

a result of changes in travel patterns caused by the closed roadways.”

[Dkt.1-2, Compl. Ex. 10 at 12] The City’s actions made it abundantly clear

that that Foundation was boss. That is precisely what Illinois law

prohibits.

     Illinois courts have expressed a long-standing hostility to improper

delegations of legislative authority to private parties. In a landmark 1952

decision, the Illinois Supreme Court held that a statute allowing owners of

property to vote to rename the street violated the nondelegation doctrine.


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The court noted that such a statute “is not a mere contingency,” but rather

“give[s] the property owners unbridled discretion of what the law shall be,”

People ex rel. Chicago Dryer Co. v. City of Chicago, 413 Ill. 315, 323 (1952).

Nor was it permissible to pass a municipal ordinance that allowed a

majority of property owners to overrule both a minority of property owners

and the town at large. Id. at 323-24. Illinois courts routinely apply this

holding to all types of land use disputes. See Brodner v. City of Elgin, 420

N.E.2d 1176, 1178 (Ill. Ct. App. 1981); La Salle Nat. Trust, N.A. v. Village

of Westmont, 636 N.E.2d 1157, 1169 (Ill. Ct. App. 1994) (“legislative power

may not be delegated to private individuals”).

      Illinois law is, moreover, buttressed by decisions from the U.S.

Supreme Court: “By any measure, handing off regulatory power to a

private entity is ‘legislative delegation in its most obnoxious form.’” Dep't

of Transp. v. Assoc. of American Railroads, 575 U.S. 43, 62 (2015) (Alito,

J., concurring) (quoting Carter v. Carter Coal Co., 298 U.S. 238, 311

(1936)). More recently, the anxious debate in Gundy v. United States, 139

S. Ct. 2116 (2019) also portends an increased emphasis on the

nondelegation doctrine. “If a majority of this Court were willing to

reconsider the approach we have taken [toward nondelegation] for the past

84 years, I would support that effort.” Id. at 2131 (Alito, J. concurring).


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      Illinois law has already moved in just that direction. In People v.

Pollution Control Board, 83 Ill. App. 3d 802 (1st Dist. 1980), the court

found an improper delegation of authority where the endorsement from a

private organization exempted a body from the PCB’s noise standards.

That action gave “private organizations the right to determine which

events will be exempt from the law and which will not. . . . . [T]he will of

the associations is thrust upon the public at large without regard for the

necessity, beneficence, or reasonableness of their actions. The legislature’s

delegation of the power to endorse is to private organizations whose

interests may be adverse to interests of others similarly situated or

directly affected by the exercise of the power delegated.” 83 Ill. App. 3d at

809. See also 11 Ill. Law & Prac. Constitutional Law § 69 (“The delegation

of the state's legislative power to private persons whose interest may be

adverse to the interest of others similarly situated or directly affected by

the exercise of power is not lawful.”)

      That form of impermissible delegation is evident in the previously

cited Chicago’s 2015 Obama Center Ordinance which speaks not in terms

of mere “advice” or “consultation” but of “deference”—a different animal

altogether—to the former President and his Foundation relative to the

OPC’s location, design, and with regard to the tailor-made “use


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agreement,” whose adverse impacts on roads, historical sites, and

environmental impacts are far more dangerous than the delegation of an

exemption from the PCB. The subsequent 2018 ratification by the City

Council does not somehow cure the defect, but acts as a rubber stamp—a

confirmation of the deference provided—done without performing any

independent review of alternative sites, including one near Washington

Park, even though the proposed development involves public, not private

land. [Dkt. 1-1, Compl. Ex. 2]

      The District Court cites to Hamann v. Lawrence, 354 Ill. 197, 204

(1933) for the proposition that “[w]hile the “legislature may not divest

itself of its proper functions, or delegate its general legislative authority, it

may still authorize others to do those things which it might properly, yet

cannot understandingly or advantageously do itself.” (quoting People ex

rel. Caldwell v. Reynolds, 10 Ill. 1 (1848)). Whenever a transfer of public

trust property to a private party is proposed, the local government must be

able to evaluate and protect such interests so as to protect the public purse

and public trust, including situations where, as here, a massive

development requiring multiple street closures and the destruction of

public trust property and parkland is being demanded by the private

party. The public bodies must step up to avoid massive conflicts of


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interest when a private party de facto is allowed to decide major questions

solely for its own interest, exactly as has occurred here. The District Court

erred in its dismissal of this cause of action.

      III.   The District Court Erred In Disallowing Plaintiffs Leave
             To Amend To Add Additional Claims Pertaining To The
             Foundation’s Ability To Meet The Preconditions For
             Taking Possession Of Jackson Park.

      On November 24, 2021, the Plaintiffs made their only effort to

amend their complaint against the City and Foundation in order to bring

claims that both parties were in material breach of the Master Agreement.

[Dkt. 107] Briefing was completed by January 5, 2022, and the District

Court issued its short opinion the following day, denying that motion to

amend. [A.001-A.002] The Court held that the Plaintiffs lacked standing

to sue on the ground that they were proceeding solely as third-party

beneficiaries in actions that were barred by Clause 34 of the Master

Agreement. Id.

      That haste bred reversible error, for at no point did the Plaintiffs

ever make a third-party beneficiary claim. The Plaintiffs’ basis for

standing was correct because they are both taxpayers and residents who

under Illinois law have long been allowed to challenge illegal transfers:

      It is established that a taxpayer can enjoin the misuse of public funds,
      based upon taxpayers’ ownership of such funds and their liability to
      replenish the public treasury for the deficiency caused by

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      misappropriation thereof. Consequently, a taxpayer has standing to
      bring suit, even in the absence of a statute, to enforce the equitable
      interest in public property which he claims is being illegally disposed
      of. Martini [v. Netsch], 272 Ill.App.3d 668, at 696, 208 Ill.Dec. 974, 650
      N.E.2d 668 (1995)(citing Metropolitan Sanitary District of Greater
      Chicago ex rel. O’Keeffe v. Ingram Corp., 85 Ill.2d 458, 476, 55 Ill.Dec.
      535, 426 N.E.2d 860 (1981), and Paepcke v. Public Building Comm’n
      of Chicago, 46 Ill.2d 330, 341, 263 N.E.2d 11 (1970)).

Malec v. City of Belleville, 384 Ill. App. 3d 465, 468-69 (Ill. Ct. App. 2008).

Alternatively, the proposed claim could be characterized as a derivative

action, where “the direct injury to be remedied is not personal to the

taxpayer. Rather, the right of action is that of the governmental entity.”

See Scachitti v. UBS Fin. Servs., 215 Ill.2d 484, 494 (2005).

      The district court’s ruling falls beyond the pale of uniform law that

liberally allows amendments under Rule 15. See, e.g., Foman v. Davis, 371

U.S. 178 (1962); Cotton Bros. Baking Co., Inc. v. Indus. Risk Insurers, 690

F. Supp. 1541, 1547 (W.D. La. 1988) (noting “legion of case law” permitting

amendment). The motion was filed approximately six months after filing

the original complaint, on issues that only arose after the Defendants’

initial motion to dismiss was filed and briefed and after the preliminary

injunction was adjudicated by the District Court. The motion for leave

was filed promptly after these issues arose. No discovery had occurred [see

Dkt. 106, 11/17/21 Minute Order granting Defendants’ oral motion to stay



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discovery]; no rulings on the motion to dismiss had been made; and no

trial date had been set. The District Court abused its discretion in

denying Plaintiffs’ leave to amend.

   V.      The District Court’s Abdication To The Agencies And
           Private Parties In Rejecting Plaintiffs’ Federal Claims Is
           Reversible Error.

        The District Court’s final decision on the Plaintiffs’ federal claims

was arbitrary and capricious, suffering from the fatal error of undue

deference to the federal administrative decisions issued pursuant to

NEPA, Section 106 and Section 4(f) and which themselves underlie the

other administrative decisions complained of. That untoward deference

led both the District Court (as well as this Court when ruling upon

Plaintiffs’ appeal from the denial of the preliminary injunction) to reject

the Plaintiffs’ challenge to the illegal segmentation of the OPC project, and

to its decision to deny an EIS because destruction of Jackson Park was

deemed of insufficient “significance” to trigger an EIS.

        Undoubtedly, the Defendants will argue that this Court’s decision

affirming the denial of the preliminary injunction is law of the case.

However, as the Supreme Court has held, the law of the case doctrine

“does not apply if the court is ‘convinced that [the prior decision] is clearly

erroneous.” Agostini v. Felton, 521 U.S. 203, 236 (1997)(quoting Arizona v.


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California, 460 U.S. 605, 618 n.8 (1983)). As demonstrated below,

irrespective of the standard applied, the District Court’s final decision in

regards to the federal claims should be reversed.

      A.    The District Court Misconstrued Applicable Law by
            Ignoring the Blatant Segmentation of the OPC Project
            Prohibited Under NEPA, Section 106, and Section 4(f).

            1. The OPC project is an integrated project that includes all
               major roads in Jackson Park and the road expansions of
               Lake Shore Drive and Stony Island Avenue.

      Throughout the federal review process relative to the OPC, it was

common ground that the relevant project was the construction of the OPC

in Jackson Park. The description of that project is given with the Notice of

Final Federal Agency Action on Proposed Transportation Project in

Illinois, 86 Fed. Reg. 8677 (Feb. 8, 2021), which speaks of one inclusive

project:

            The proposed construction along Lake Shore Drive,
            Stony Island Avenue, Hayes Drive, and other
            roadways in Jackson Park and the construction of
            proposed trails and underpasses in Jackson Park,
            Cook County, Illinois. (Emphasis added).

Thereafter, the description talks about the widening of Lake Shore Drive

(U.S. Route 41) and widening Stony Island Avenue, coupled with bicycle

and pedestrian accommodations in Jackson Park, with further connections

to Cornell Drive, Hayes Drive, and Marquette Drive. Despite that fact,


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the District Court wrongly insisted on treating the four (4) roads in

Jackson Park and the expansion of Lake Shore Drive and Stony Island

Avenue as two separate projects even though the Section 4(f) Report

concluded as follows: “The need for the [Federal Highway Administration]

action [which is the expansion of Lakeshore Drive and Stony Island] arises

as a result of changes in travel patterns caused by the closed roadways.”

[Dkt. 1-2, Compl. Ex. 10 at 12]

      Those roads are central elements of Jackson Park, and by no stretch

of the imagination can they be called local. The four (4) so-called “local”

roads left unnamed include these key arteries: the Midway Plaisance

going east, Cornell Drive going north and south, Hayes Drive and

Marquette Drive going east and west. Cornell Drive forms part of the road

that links Interstate 90 to Lake Shore Drive. Physically, none of them are

lined with any houses or businesses. They all run through Jackson Park

as testimony to Olmsted’s original vision of an integrated urban park,

linking Northern Indiana to the Chicago Loop. [Dkt. 1-2, Compl. Ex. 8,

December 18, 2020, Final Section 4(f) Evaluation at 3, 5-7]

      Nonetheless, the scope of the OPC project is not recognizable from

the narrow description advanced by the District Court or this Court later,

which wrote: “The plans for the Center require the closure of portions of


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three roads within Jackson Park. To accommodate the resulting effect on

traffic, the Chicago Department of Transportation has proposed using

federal funding to build or improve other roads, bike paths, and pedestrian

walkways in the park. To be clear, the plan to close portions of existing

roads in the park did not require federal approval.” Protect Our Parks,

Inc. v. Buttigieg, 39 F.4th 389, 393 (7th Cir. 2022). This statement is the

product of excessive deference so as to escape meaningful review in

violation of Supreme Court authority, and clearly incorrect insofar as it

insists that the conversion of Cornell Drive into a bicycle path is not a

transportation project.

            2. The extensive work in Jackson Park is a major federal
               program or project covered by NEPA, Section 106, and
               Section 4(f).

      Pursuant to 40 C.F.R. § 1508.18 (2003), a major federal action

“includes actions with effects that may be major, and which are potentially

subject to Federal control and responsibility.” (Emphasis added.) “Actions

include new and continuing activities, including projects and programs

entirely or partly financed, assisted, conducted, regulated, or approved by

federal agencies; new or revised agency rules, regulations, plans, policies,

or procedures; and legislative proposals (§§ 1506.8, 1508.17).” 40 C.F.R. §

1508.18(a) (emphasis added).


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      Building the OPC in Jackson Park certainly meets this definition as

a major federal project. It is backed by millions of federal dollars, which

renders indefensible any notion that the fungible federal dollars used to

finance the roadwork in Jackson Park were dedicated only for use on

Stony Island Avenue and Lake Shore Drive, when shutting down the

Midway Plaisance going east was done solely to accommodate a specific

demand from the Foundation to place the OPC further north to improve

its visibility along the Midway.

      In this context, the various government agencies have been tasked

with using their expertise to balance many conflicting interests. But they

have never been granted total discretion given the risk that politically

savvy applicants and administrative allies will undermine the statutory

scheme. Accordingly, Section 4(f) specifically provides, consistent with “the

policy of the United States Government that special effort” is to be made to

protect public parks, that a transportation project can be approved “only

if” there is no prudent and feasible alternative to using the land and “all

possible planning to minimize harm” to the park is included. 49 U.S.C. §

303(c) (emphasis supplied). To achieve the statutory purpose, the phrase

“transportation program or project” cannot be construed narrowly to

sidetrack the statute as the District Court has done here.


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      The relevant case law starts with the Supreme Court’s decision in

Overton Park, whose operative passage, never cited in either Court opinion

or by the Defendants, reads:

           Even though there is no de novo review in this case
           . . ., the generally applicable standards of § 706
           require the reviewing court to engage in a
           substantial inquiry.     Certainly, the Secretary’s
           decision is entitled to a presumption of regularity.
           But that presumption is not to shield his action from
           a thorough, probing, in-depth review.

Overton Park, 401 U.S. at 415 (citations omitted).

     This articulation allows the presumption in favor of administrative

regularity to be rebutted by a “thorough, probing, in-depth” review that is

required in all cases. Yet, the District Court and this Court totally

disregarded this principle by writing that: “The City’s objective was to

build the [OPC] in Jackson Park, so from the Park Service’s perspective,

building elsewhere was not an alternative, feasible or otherwise.” Protect

Our Parks, Inc. v. Buttigieg, 10 F.4th 758, 764 (7th Cir. 2021) (denying

motion to stay pending appeal). The District Court admitted the improper

deference and unilateral action here when it noted that the Foundation

admitted that they “made the decision to locate the OPC in Jackson Park,

and there exists no evidence that this decision required federal review or

involvement.” [A.076] This Court followed suit writing that:


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            [A]s the district court recognized, segmentation
            refers only to the situation that arises when an
            agency arbitrarily separates related federal actions
            from one another. The [OPC] is a local project, and
            the federal government has no authority to fix its
            location. Without federal involvement we do not
            even reach the issue whether the federal
            government segmented its actions. See Old Town
            Neighborhood Ass’n Inc. v. Kauffman, 333 F.3d 732,
            735 (7th Cir. 2003). That is because the NEPA
            requires an impact statement only for “major
            Federal actions,” which the relevant regulations
            define to mean actions that are “potentially subject
            to Federal control and responsibility.” 40 C.F.R. §
            1508.18 (2019).

Protect Our Parks v. Buttigieg, 39 F. 4th 389, 393-94 (7th Cir. 2022).

      That narrow definition of a program or project cuts the heart out

from Overton Park by allowing the project owners to determine the scope

of their own projects. That analysis is also contrary to the Court’s

jurisprudence discussed supra. Section 4(f), Section 106, NEPA (and

similar federal statutes) would be a dead letter if federal authorities could

not fulfill their statutory role in such developments (i.e., by withholding

funds) if major decisions on land use like the OPC are relegated to the

status of local projects, nullifying the statutory language providing for

federal reviews when a “major action” is “potentially subject” to federal

control. However, while private parties may ignore statutes and make

their own decisions to define a project, such unilateral acts do not remove


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the project from federal review. That narrow view then allows both the

City and the Foundation to ignore the fact that superior sites are

available, without any of the numerous adverse effects of the OPC.

      The District Court’s (and this Court’s) reliance upon Old Town

Neighborhood was thus singularly inapt because the local project in

Goshen was, by design, done without federal funds. Old Town

Neighborhood Ass’n Inc. v. Kauffman, 333 F.3d 732, 734 (7th Cir. 2003).

Instructively, however, Old Town Neighborhood also held that the

project’s provisional immunity would be lost if the city ever received

federal funds for any local work, as the entire project would then be a

single undertaking covered by the “step-transaction” doctrine. Id. at 736.

      Reliance upon Scottsdale Mall v. State of Indiana , 549 F.2d 484 (7th

Cir. 1977) is equally improper. Both the District Court and this Court

quoted in isolation a snippet stating that the law “does not infringe on the

right of a state to select a project to be financed solely out of its own funds”

– which Jackson Park is not. [A.076] The fuller statement of facts

indicates that Indiana had engaged in impermissible segmentation of a

single project when it turned down federal funds for the last stage of a

highway construction project, having accepted federal funds for its three

prior stages, during which time it cooperated closely with the federal


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government. Id. at 488. Scottsdale Mall’s extensive coordination between

the federal and state officials counted as a “major federal action” that

called for an EIS under NEPA.

      In Jackson Park, a similar financial integration has been achieved

because extensive federal funds were used not just potentially, but

actually, on the extensive site preparation for the OPC. In light of that

integrated initial plan, it is wrong to say that “one of the alleged project

‘segments’ [namely the OPC] does not actually fall under federal review.”

[A.076] Because the Foundation strategically ignored NEPA and other

federal environmental protections when it chose to build in Jackson Park,

(decisions to which the City deferred), it did not exempt itself from a

federal review. Surely no private entity gets that free pass! Why else was

its size, location, and design important to the federal reviews? NEPA,

Section 106, and Section 4(f) would be gutted if they could be sidelined

solely by the unilateral decision of a regulated party to define the scope

and location of its own project, thereby eliminating the required review of

any alternatives. While NEPA, Section 106, and Section 4(f) do not give

any federal agency the power to dictate the specific location of a private

development, the federal agencies and the courts have a role, and are

legally obliged to deny an application if it fails to meet the standards


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articulated in Section 4(f) and other relevant statutes. Overton Park

demands no less.

      The applicable regulations under 23 C.F.R. § 771.111(f)(1)-(3) and

elsewhere do not let courts defer to any agency interpretation on

segmentation. See Highway J Citizens Grp. V. Mineta, 349 F.3d 938, 962

(7th Cir. 2003) (quoting City of West Chicago v. NRC, 701 F. 2d 632, 650

(7th Cir. 1983)). There, Citizens challenged the Ackerville Bridge/Lovers

Lane Project and the County Highway 164 Project because a

“contamination plume” containing arsenic and trichlorethylene was

migrating toward the Ackerville Bridge. Citizens asked the court to

suspend the project until the plume was isolated and corrected, and also

“to require the FHWA to prepare an Environmental Impact Statement

(“EIS”) for the Ackerville Bridge Project.” Id. at 942. Segmentation

became an issue because the plaintiffs had treated the two projects as one.

The Mineta court noted that: “If an agency considers the proper factors

and makes a factual determination on whether the environmental impacts

are significant or not, that decision implicates substantial agency

expertise and is entitled to deference.” Id. at 953 (emphasis added). The

initial “if” says it all. In Mineta, the requisite analysis was in fact made

under the “hard look” doctrine, id. at 954—never once invoked in the


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reviews of Jackson Park—to explain why the plume did not pose a menace

to the bridge requiring remediation. Id. at 955. The absence of any causal

connection between the bridge and the highway justified the segmentation

because the repair of bridges was tightly confined by location, whereas the

OPC’s road construction is not. The physical separation in Mineta could

never take place with the OPC in Jackson Park. Unfortunately, Mineta’s

hard-look methodology was abandoned in this case when it was insisted

(incorrectly) that the Plaintiffs’ position “fail[ed] to take into account the

deference courts owe to agencies with respect to the scope of a project.”

Protect Our Parks, 10 F.4th at 763.

      The relevant pattern is clearly illustrated by comparing two pipeline

cases. In Sierra Club v. U.S. Army Corps of Eng’rs, 803 F.3d 31, 33 (D.C.

Cir. 2015), the Court held “that the federal government was not required

to conduct NEPA analysis of the entirety of the [593 mile] Flanagan South

pipeline, including portions not subject to federal control or permitting.”

The reviews in question could have involved close to 2,000 minor water

crossings. But since the interconnections at each location were wholly

independent of the others, all of them need not be reviewed to deal with

any one case. But in Delaware Riverkeeper Network v. F.E.R.C., 753 F.3d

1304 (D.C. Cir. 2014), the Court did hold that segmentation on the so-


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called Northeast Project was impossible precisely because the upgrade

work done on 200 miles of continuous pipeline did require a close look at

the cumulative and interactive impact of the individual repairs which

made segmentation impermissible. By contrast, the huge deference that

both this the District Court and this Court have exhibited is inconsistent

with the treatment of cumulative impacts under 40 C.F.R. § 1508.25(a)(2),

     Similarly, the doctrine of constructive use, also ignored in the matter

at bar, guards against evasions practiced in this case.

           (23) (a) A constructive use occurs when the
                transportation project does not incorporate land
                from a Section 4(f) property, but the project’s
                proximity impacts are so severe that the
                protected activities, features, or attributes that
                qualify the property for protection under
                Section 4(f) are substantially impaired.
                Substantial impairment occurs only when the
                protected activities, features, or attributes of
                the property are substantially diminished.

23 C.F.R. § 774.15(a).

     Thus, for any project that creates a common law nuisance, the

review must take into account adverse consequences, including, but not

limited to, the massive damage to trees and birds, both local and

migratory. The entire roadwork system in Jackson Park is a

transportation project supported directly and/or indirectly by federal



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monies and federal permits; such federal review covers both the land

occupied and the collateral damage to nearby locations, including not just

the trees cut down, but also those whose root systems will be compromised

by the changes in the water flow and water table, or by noise and

vibrations.

      The elevated standard of review required by Overton Park makes it

clear that the standard of deference found in Chevron U.S.A, Inc. v.

Natural Resources Defense Council, Inc., 467 U.S. 837 (1984) has no place

in this analysis. That result is indeed fortified by three recent opinions

from the Supreme Court in different statutory schemes that also reject the

uncritical deference shown by the District Court to the government’s

characterization of the OPC project in Jackson Park. Specifically, in

American Hospital Association v. Becerra, 142 S. Ct. 1896 (2022), the

Supreme Court rejected the Department of Health and Human Services’

interpretation of a Medicare reimbursement formula reduction. The Court

made no mention or reference to the Chevron doctrine, and instead focused

on the text and structure of the statute when it held that a cut in Medicare

reimbursement was not consistent with the statute. Then, the Supreme

Court decided Becerra v. Empire Health Foundation, 142 S. Ct. 2354

(2022), again without any mention of Chevron deference, and performed


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its own analysis of the text and structure of the Medicare statutes when it

found certain individuals were entitled to Medicare benefits. In a sharply

divided Court, neither side appealed to a Chevron deference. Finally, and

most importantly, in West Virginia v. EPA, 142 S. Ct. 2587 (2022) the

Court did not apply Chevron when it refused to accept the EPA’s broad

interpretation of a Clean Air Act provision dealing with the “best system of

emissions reduction… that has been adequately demonstrated.” Id. at

2596. Consistent with these decisions, and the undisputed record, the

District Court’s deference to federal agencies on the segmentation and

related issues was arbitrary, capricious and otherwise clearly erroneous,

requiring reversal of the judgment entered on the federal reviews which

were all impacted by such errors, and, at a minimum, those claims under

Section 4(f), NEPA and Section 106 claims where the required analysis

and work were not performed.

           3. The federal agencies’ actions are the factual and proximate
              cause of the environmental harms in this case.

     Both the District Court (and this Court later) cited Dep’t of Transp.

V. Public Citizen, 541 U.S. 752 (2004), for the proposition that the federal

agencies’ actions were somehow not the factual and proximate cause of the

harms to Jackson Park. This Court stated that “[t]he Park Service’s

approval was a factual cause of the Center’s placement in Jackson Park,

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because construction could not start without its approval, but the agency’s

limited authority prevented it from being a proximate cause of any

damage resulting from the Center.” POP, 39 F.4th at 399. But why? In

Public Citizen nothing any agency did could override the presidential

decision. Neither NEPA, Section 106, nor Section 4(f) played any role in

Public Citizen. But in this case the agency decisions (and the failures to

perform the adequate analyses) determined whether the OPC could go

ahead. It is common that two or more actions could be called “the”

proximate cause, and no one could deny that the decision of government

agencies to authorize private activities counts as a “substantial factor”—

the usual test for proximate cause—in bringing about the harm.

Restatement (Third) Torts § 26, Law of Physical Harm. To hold the

opposite would render the environmental statutes a dead letter in every

case.

        Public Citizen also asked whether some intervening causal event

severed the connection between some “but for” cause and the undesired

result, i.e., increased road traffic and pollution that could require an EIS.

541 U.S. at 754. Yet that causal connection could not be established as the

new Mexican trucks on the roads might well have been offset by a decline

in American trucks on the same roads. However, no such offset is


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conceivable with the approval of the OPC in Jackson Park. Cornell Drive

will be converted into a bike path, and the expansion of Stony Island

Avenue and Lake Shore Drive are all necessary to construct the OPC in

Jackson Park, and all part of one integrated plan. That the Foundation

and City have self-selected a scope does not make their characterizations

accurate – factually or legally.

            4. The judicial deference shown in this case has illegally
               blocked the EIS that is clearly required here.

      A federal agency must prepare an EIS for a major federal action

“significantly affecting the quality of the human environment.” 42 U.S.C.

§ 4332(2)(C). If the agency finds that no EIS is required because the

proposed action will not have a significant impact, then the agency reports

its decision in a FONSI (finding of no significant impact). 40 C.F.R. §

1508.13. Further, an EIS must be prepared when an EA reveals that a

proposed action may significantly impact the environment. 42 U.S.C. §

4332(2)(C). The applicable regulations look to both context and intensity

in deciding “significance.” See 40 C.F.R. § 1508.27. Here, the District

Court wrongfully found no significant environmental impact that required

preparing an EIS. Recall that Overton Park categorically requires this

Court “to engage in a substantial inquiry” that provides a “thorough,



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probing, [and] in-depth” review. Yet the District Court improperly deferred

to the agency by refusing to ask a single hard question about the

wholesale destruction of Jackson Park outlined above.

      Those omissions were particularly glaring on the massive

destruction of trees. Here, both the District Court (and this Court) relied

on a “meticulous tree survey” which only asked what new trees could

reduce the damage from cutting at least eight hundred (800) trees, the

vast majority of which are mature or near maturity and in good to fair

condition, taking one hundred (100) years or longer to reach full size. [See

Dkt. 61-22, Fed. Defs. Ex. 17, Part 1, Appendix D-1; Dkt. 80, Ex. 11,

Mitchell Supp. Decl., ¶ 11] The clear-cutting of these trees will prove

doubly significant because of their critical location in Jackson Park. [Id.;

Dkt. 80, Ex. 12, Balkany Decl., ¶ 4 & Ex. A thereto]

      These large trees have for decades provided safe nests to local and

migratory birds. [Dkt. 1-2, Compl. Ex. 10 at 29-34] They absorb large

amounts of water that helps stabilize the local environment, and they

remove large amounts of carbon dioxide from the air. Countless recent

studies speak to their critical role in maintaining the fragile ecological

balance. See, e.g., The Morton Arboretum, Benefits of Trees, available at

https://mortonarb.org/plant-and-protect/benefits-of-trees/ (“Numerous


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scientific studies have shown that trees promote health and well-being by

reducing air pollution, encouraging physical activity, enhancing mental

health, promoting social ties, and even strengthening the economy.”).

      In the face of this evidence, both the EA (and its referenced Tree

Memorandum [Dkt. 31-1, Ex. 6, AE Appendix D, Trees Technical

Memorandum]) concluded erroneously that clear-cutting about 800 mature

trees was “insignificant,” relying upon, inter alia, possible future

replacement with saplings, without pointing to a similar determination

made anywhere else in the United States, especially in a city, like Chicago,

that is in fact tree poor. [Dkt. 80, Ex. 10, Mark Rivera, “Chicago tree

canopy dwindling; calls for equity, tree planting in underserved

communities,” June 30, 2021]

      Nor does it matter, as the District Court claimed, that there were

some “unaffected 500-plus acres of Jackson Park,” or, indeed several

thousand acres along the Chicago Lakefront, or the millions of acres

nationwide. Any purported ratio would gut both NEPA and the TA by

allowing government agencies to use the largest possible denominator to

trivialize any government action. What matters is finding some

justification for swapping out 800 old-growth trees today for the promise of

perhaps planting 800 saplings five or more years later. As noted, the


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freestanding OPC can be placed elsewhere on the South Side of Chicago,

without having to engage in the first major do-over of any Olmsted Park

ever. Plaintiffs do not know of a single regulation, case, or practice that

defers to any agency judgment that equates mature trees from a historic

park with saplings.

         Any well-designed EA or EIS must examine the intensity of any

factor that affects “[u]nique characteristics of the geographic area such as

proximity to historic or cultural resources [and] park lands [and] [t]he

degree to which the action may adversely affect districts, sites, highways,

structures, or objects listed in or eligible for listing in the National

Register of Historic Places or may cause loss or destruction of significant

scientific, cultural, or historical resources.” 40 C.F.R. §§ 1508.27(b)(3),(8).

Those vulnerable areas are found everywhere in Jackson Park, which is

listed on the National Register of Historic Places (as is the Midway

Plaisance, and the Chicago Boulevard Historic District), and is an

acknowledged Olmsted masterpiece. [Dkt. 31-1, Ex. 2, Mitchell Decl., ¶¶

8, 11]

         Another intensity factor is whether “the effects on the quality of the

human environment are likely to be highly controversial,” 40 C.F.R. §

1508.27(b)(4), that is, whether there is “a substantial dispute” about the


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action’s size, nature, or impact. Friends of the Earth, Inc. v. U.S. Army

Corps of Eng’rs, 109 F. Supp. 2d 30, 32 (D. D.C. 2000) (citations omitted).

In the present case, the public is engaged in a prolonged fierce and loud

dispute regarding the disruption of traffic patterns, the destruction of

trees, the mammoth size of the main OPC building, the awkward

placement of the OPC on the Midway Plaisance, the destruction of key

features of Jackson Park, and, in particular, the wisdom of locating the

OPC in an Olmsted public park and its impact on the community and

public.

      To that end, in response to a nonbinding advisory referendum in the

November 2022 election, citizens voted overwhelmingly (by 82 percent) to

halt the destruction of trees in Jackson Park, in connection with the OPC

and any related activities such as a one-time proposed Tiger Woods-

designed golf course extension which together could result in the loss of

several thousand more trees. See, Patty Wetli, South Side Voters Speak

Up for Trees in Jackson Park and South Shore, Is Anybody Listening?

WTTW News, Nov. 9, 2022 https://news.wttw.com/2022/11/09/south-side-

voters-speak-trees-jackson-park-and-south-shore-anyone-listening.

      An EIS is also required “if it is reasonable to anticipate a

cumulatively significant impact on the environment.” 40 C.F.R.


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§1508.27(b)(7), or to examine activities governed by explicit “constructive

use” regulations, see supra at 55. 23 C.F.R. § 774.15. These various

indirect effects require a more comprehensive analysis even when a

transportation project does not incorporate land from a Section 4(f)

property, so long as the proximity of the project generates severe negative

impacts on protected activities, features, or attributes protected under

Section 4(f).

      Hence, the agency is duty-bound to consider the trees already cut

down and the trees now likely to be damaged to further compromise the

Park’s ability to provide migratory and local birds places to nest, forage,

and seek shelter in other trees throughout Jackson Park, particularly

where the risk of a new grandiose Jackson Park golf course remains

lurking. [Dkt. 47-1, Cox Decl., at 3]. The failure to perform an EIS in

these circumstances is reversible error under any standard of review.




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                                CONCLUSION

      The Plaintiffs respectfully request that the District Court’s decisions

set forth above be reversed, and that the case be remanded for further

proceedings.

                                       Respectfully Submitted,

                                       PROTECT OUR PARKS, INC.;
                                       NICHOLS PARK ADVISORY
                                       COUNCIL; STEPHANIE FRANKLIN;
                                       SID E. WILLIAMS; BREN A.
                                       SHERIFF; W.J.T. MITCHELL; and
                                       JAMIE KALVEN,
                                       Plaintiffs-Appellants

                                        /s/ Richard Epstein
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                       Type-Volume Certification

     The undersigned counsel hereby certifies that this brief complies with

the type-volume limitations of Circuit Rule 32(a), (b), and (c) of this Court,

because the brief contains 13,999 words, excluding the parts of the brief

exempted by Rule 32(a)(7)(B)(iii) of the Federal Rules of Appellate

Procedure.


                                            /s/ Richard Epstein
                                           Richard Epstein




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                         Certificate of Service

     I hereby certify that on February 16, 2023, I electronically-filed the

foregoing with the Clerk of the Court for the United States Court of Appeals

for the Seventh Circuit by using the CM/ECF system. I certify that all

participants in these consolidated appeals are registered CM/ECF users and

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                                           /s/ Richard Epstein
                                          Richard Epstein




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                                 Appeal No. 22-3190


               IN THE UNITED STATES COURT OF APPEALS
                      FOR THE SEVENTH CIRCUIT


                        PROTECT OUR PARKS, INC., et al.,
                             Plaintiffs-Appellants,

                                          v.

       PETE BUTTIEGIEG, SECRETARY OF THE U.S. DEPARTMENT OF
                      TRANSPORTATION, et al.,
                         Defendants-Appellees.


                     Appeal from the United States District Court
                         for the Northern District of Illinois
                                 Hon. Robert Blakey
                                    1:21-cv-02006


     PLAINTIFFS-APPELLANTS PROTECT OUR PARKS, INC., ET AL.’S
          REQUIRED SHORT APPENDIX TO OPENING BRIEF


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                        ORAL ARGUMENT REQUESTED
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                        Appendix Certification

      The undersigned counsel hereby certifies that all of the materials
required by Circuit Rule 30(a) and 30(b) are included in the Appendix.

                                          /s/ Richard Epstein
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                    UNITED STATES DISTRICT COURT
          FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.3.3
                               Eastern Division

Protect Our Parks Inc, et al.
                                    Plaintiff,
v.                                                    Case No.: 1:21−cv−02006
                                                      Honorable John Robert Blakey
Pete Buttigieg, et al.
                                    Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Thursday, January 6, 2022:


        MINUTE entry before the Honorable John Robert Blakey: The Court denies
Plaintiffs' motion for leave to amend [107]. Plaintiffs seek to add two claims: Count XV,
which alleges breach of the master agreement, and Count XVI, an unjust enrichment
claim, also predicated on the alleged breach of the master agreement. The former claim
would fail because Plaintiffs have no standing to sue for breach of a contract to which
they are not parties. The claims are futile. See Kaplan v. Shure Bros., 266 F.3d 598, 602
(7th Cir. 2001) (Under Illinois law, a cause of action based on a contract may be brought
only by a party to that contract, by someone in privity with such a party, or by an intended
third−party beneficiary of the contract.)(citing White Hen Pantry, Inc. v. Cha, 574 N.E.2d
104, 109 (Ill. App. Ct. 1991); Altevogt v. Brinkoetter, 421 N.E.2d 182, 18687 (Ill. 1981));
NHI−2, LLC v. Wright Prop. Mgmt., Inc., No. 15 C 7913, 2018 WL 1138542, at *2 (N.D.
Ill. Mar. 2, 2018) ("the only parties that may bring a breach of contract claim under a
contract are those that have signed the contract at issue") (citing W.W. Vincent and Co. v.
First Colony Life Ins. Co., 814 N.E.2d 960, 967 (Ill. App. Ct. 2004)). And the latter is tied
to the former and adds nothing new to the allegations already on file. See Benson v.
Fannie May Confections Brands, Inc., 944 F.3d 639, 648 (7th Cir. 2019) (in Illinois, a
request for relief based upon unjust enrichment is tied to the fate of the underlying claim).
Plaintiffs argue that they have standing to sue and cite cases to support that argument; to
the extent those cases support Plaintiffs' standing argument generally, they do not
establish standing to sue for breach of contract, which is what Plaintiffs seek to do. E.g.,
Malec v. City of Belleville, 891 N.E.2d 1039, 1041 (Ill. Ct. App. 2008) (finding standing
to assert claims alleging violations of the TIF Act, and certain provisions of the Illinois
Municipal Code). Accordingly, and because the parties and the Court have already
devoted significant resources addressing the current complaint, the Court declines to grant
leave to amend. Mailed notice(gel, )




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
                                                                                  A.001
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                                                                                  A.002
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                          UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

PROTECT OUR PARKS, INC, et al.                 )
                                               )
               Plaintiffs,                     )       Case No. 21-CV-2006
                                               )
               v.                              )
                                               )
PETE BUTTIGIEG, et al.,                        )       Judge John Robert Blakey
                                               )
               Defendants.                     )

                        MEMORANDUM OPINION AND ORDER

         This dispute is the latest effort by Plaintiff Protect Our Parks, joined by various

individuals and the Nichols Park Advisory Council to block the construction of the

Obama Presidential Center (“OPC”) in Jackson Park on the south side of Chicago.

Plaintiffs sue the City of Chicago (“City”), the Chicago Park District (“Park District”),

the Barack Obama Foundation (“Obama Foundation”) and various federal agencies,

bringing eight state law claims and seven federal claims. [1]. The City, Park District

and Obama Foundation move to dismiss all of the state law claims, [28]. For the

reasons set forth below, the Court grants Defendants’ motion [28] in its entirety.

I.       Factual Background 1

         In 1869, the Illinois General Assembly passed “An Act to Provide for the

Location and Maintenance of a Park for the Towns of South Chicago, Hyde Park and



1 The Court takes these facts from the Plaintiffs’ Complaint and its attachments. Given the extensive

history of this case, the Court assumes general familiarity with the factual background and this
Court’s prior orders (incorporated herein by reference as needed) and limits its factual recitation to a
brief summary of those facts essential to the motion to dismiss now before it.



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Lake.” [1] ¶ 37; Private Laws, 1869, vol. 1, p. 358. The statute provided for the

formation of a board of public park commissioners to be known as the “South Park

Commissioners.” Id. The Act authorized these commissioners to select certain lands,

which, when acquired by said Commissioners, “shall be held, managed and controlled

by them and their successors, as a public park, for the recreation, health and benefit

of the public, and free to all persons forever.” Private Laws, 1869, vol. 1, p. 360.

Pursuant to this authority, the commissioners acquired the land now known as

Jackson Park.     [1] ¶ 37. The Illinois Legislature enacted the Park District

Consolidation Act in 1934, which consolidated the existing park districts, including

the South Park District, into the Chicago Park District. Id.; 70 ILCS 1505/1. The

Park District therefore came to hold Jackson Park in the public trust.

      In March 2014, the Obama Foundation initiated a nationwide search for the

future site of the OPC. [1] ¶ 39. Both the University of Chicago and the University

of Illinois Chicago proposed potential locations in Chicago. Id. ¶ 40. In 2015, the City

Counsel passed an ordinance (“2015 Ordinance”) outlining a number of proposed sites

for the OPC and authorizing the transfer of a portion of Jackson Park to the City, in

the event the Obama Foundation was interested in building and operating the OPC

in Jackson Park. Id. ¶ 111; [1-1], Ex. 1. The proposed Jackson Park site lies on the

western edge of Jackson Park and includes existing parkland bounded by South

Stony Island Avenue on the west, North Midway Plaisance on the north, South

Cornell Drive on the east, and East Hayes Drive on the south. [1] ¶ 54; [29-1] (“Report




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to the Planning Commission”) at 2. 2 Around the same time, the Illinois General

Assembly also amended the Illinois Park District Aquarium and Museum Act

(“Museum Act”) to explicitly authorize cities and park districts to purchase, erect, and

maintain museums, including presidential libraries, in public parks and to permit

certain third parties to build, improve, maintain and operate these museums. See 70

ILCS 1290/1.

        The Chicago Plan Commission and Chicago City Council reviewed the matter,

held public hearings, and subsequently approved this inter-governmental transfer of

a portion of Jackson Park. [1] ¶¶ 58–63; [1-1]. As part of its approval, the City

Council passed an ordinance (“2018 Ordinance”) allowing the City to accept title to

the Jackson Park site from the Park District and to enter into agreements governing

the Obama Foundation’s use of the site. [1] ¶¶ 63–66; [1-1], Ex. 2. One of the

agreements authorized by the 2018 Ordinance—the 2018 Use Agreement—sets the

terms by which the Obama Foundation may use the Jackson Park site for the OPC.

[1-1], Ex. 2 (Ex. D). In addition to the various structures that will comprise the OPC,

the site will include new parkland created by vacating portions of streets adjacent to

existing parkland. [1] ¶¶ 54–57, 65–67, 73; [29-2] (“May 17, 2018 Report to the

Chicago Plan Commission”). 3




2 Plaintiffs rely on the Planning Commission Report in their Complaint, [1] ¶ 60, so the Court may

properly consider it on a motion to dismiss.
3 The Court may also rely on this Report because Plaintiffs rely on it in their Complaint, [1] ¶¶ 61–62.



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II.   Procedural Background

      In May 2018, Plaintiff Protect Our Parks and several individuals sued the City

of Chicago and the Chicago Park District seeking to stop the construction of the OPC

in Jackson Park, bringing public use doctrine and ultra vires state law claims and

multiple federal constitutional claims. This Court granted summary judgment to the

defendants on all claims, see Protect Our Parks, Inc. v. Chi. Park Dist., 385 F. Supp.

3d 662 (2019) (POP I); and plaintiffs appealed, see Protect Our Parks, Inc. v. Chicago

Park District, 971 F.3d 722, 728 (7th Cir. 2020) (POP II), cert. denied sub nom. Protect

Our Parks, Inc. v. City of Chicago, No. 20-1259, 2021 WL 1602736 (U.S. Apr. 26,

2021). The Seventh Circuit affirmed summary judgment on the federal claims but

vacated the ruling on the state law claims, finding that the plaintiffs failed to

demonstrate Article III standing. Id. at 732. On remand, this Court dismissed the

state law claims for lack of jurisdiction.

      Undeterred, Protect Our Parks, along with new individuals and the Nichols

Park Advisory Council (collectively “Plaintiffs”) sue again to stop construction on the

OPC. [1]. They again bring familiar public trust doctrine and ultra vires claims

(Counts VI and VII), but add six new state law claims for: violation of Article VIII,

Section 1 of the Illinois Constitution (Count VIII); violation of the Illinois Constitution

Takings Clause (Count IX); improper delegation of authority (Count XI); violation of

Article I, Section 2 of the Illinois Constitution (Count XII); violation of Article I,

Section 16 of the Illinois Constitution (Count XIII); and violation of the Illinois State

Agency Historic Preservation Resources Act (Count XV). Id. They also bring seven

federal claims relating to the OPC project’s federal regulatory review. Accordingly,
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in addition to suing the City, the Park District, and the Obama Foundation, they also

sue numerous federal officials in their official capacities. Id.

        Plaintiffs moved for a preliminary injunction based upon their federal claims,

which the Court denied. [94]. An appeal of that decision remains pending. 4 The

City, Park District and Obama Foundation (“Defendants” for purposes of this opinion)

also moved to dismiss all eight state law claims, [28], and is now ripe for decision.

        Before the Court considers the merits of Defendants’ motion [28], however, it

pauses to address the binding effect of the rulings in the prior iteration of this dispute.

This Court’s prior summary judgment ruling on the state law claims does not

implicate res judicata principles, nor does it constitute law of the case, since the

Seventh Circuit found the plaintiffs lacked standing. POP II, 971 F.3d at 728. Of

course, the Seventh Circuit’s decision, however, does bind this Court and the parties,

and constitutes law of the case.




4 Of course, this Court retains jurisdiction to decide Defendants’ motion to dismiss notwithstanding

the pending preliminary injunction appeal. See, e.g., Wis. Mut. Ins. Co v. United States, 441 F.3d 502,
505 (7th Cir. 2006) (“[A]n appeal taken from an interlocutory decision does not prevent the district
court from finishing its work and rendering a final decision. This is so for appeals concerning
preliminary injunctions.” (citing Kusay v. United States, 62 F.3d 192, 193–94 (7th Cir. 1995)). Further,
the Court finds no reason to delay decision on this motion to dismiss the state law claims pending
outcome of Plaintiffs’ injunction appeal, because Plaintiffs only sought a preliminary injunction based
on their federal law claims. Cf. May v. Sheahan, 226 F.3d 876, 880 n.2 (7th Cir. 2000) (holding that
even in those cases in which an interlocutory appeal may divest a district court of some aspects of a
case, the district court has “authority to proceed forward with portions of the case not related to the
claims on appeal, such as claims against other defendants or claims” that “cannot be (or simply are
not) appealed.”); City of Chi. v. Sessions, 321 F. Supp. 3d 855, 881 (N.D. Ill. 2018) (noting that, even if
a district court retains jurisdiction to decide the merits of a case while an interlocutory injunction
appeal remains pending, it “should use such power only in a manner that preserves the status quo and
thus the integrity of the appeal.”).


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III.   Standard of Review

       To survive a motion to dismiss under Rule 12(b)(6), “the complaint must

provide enough factual information to state a claim to relief that is plausible on its

face and raises a right to relief above the speculative level.” Haywood v. Massage

Envy Franchising, LLC, 887 F.3d 329, 333 (7th Cir. 2019). It tests the sufficiency of

the complaint, not the merits of the case. See Gibson v. City of Chi., 910 F.2d 1510,

1520 (7th Cir. 1990). A court must accept as true all well-pled factual allegations; it

need not accept mere legal conclusions. Ashcroft v. Iqbal, 556 U.S. 662, 679 (2009).

Further, when an exhibit “incontrovertibly contradicts the allegations in the

complaint, the exhibit ordinarily controls, even when considering a motion to

dismiss.” Bogie v. Rosenberg, 705 F.3d 603, 609 (7th Cir. 2013).

IV.    Analysis

       A.       Standing

       The Seventh Circuit’s decision in POP II provided a strong reminder that,

before a court can address the merits of any claim, it must assure itself of its

jurisdiction.   971 F.3d at 729.   Defendants summarily posit that Plaintiffs now

sufficiently allege standing, [29] at 11, but the Court will nevertheless spend a

moment on standing before proceeding to the merits.

       To establish Article III standing, a plaintiff must show that it has suffered an

“injury in fact” that is “fairly traceable” to the defendant’s conduct and would likely

be “redressed by a favorable decision.” Collins v. Yellen, 141 S. Ct. 1761, 1779 (2021)

(quoting Lujan v. Defenders of Wildlife, 504 U.S. 555, 560–61 (1992)). In POP II, the



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Seventh Circuit held that the plaintiffs lacked Article III standing on their state law

claims because they did not identify any injuries to their “separate concrete

interests.” 971 F.3d. at 731. The court also held that their status as municipal

taxpayers did not confer standing because they failed to establish that the City spent

any taxpayer monies on the allegedly illegal actions. Id. at 734.

        Here, to establish standing, Plaintiffs newly allege that, for years, the

individual Plaintiffs, as well as members of Protect Our Parks and NPAC, have used

and enjoyed Jackson Park and the surrounding public areas and intend to continue

using them for recreation and to, inter alia, study the architecture and enjoy the

aesthetics and animal population. [1] ¶¶ 12–19. The Complaint also alleges that

Plaintiffs have standing as municipal taxpayers. Id. ¶ 22

        The allegations regarding Plaintiffs’ use and enjoyment of the property suffice

to demonstrate a concrete injury cognizable under Article III for their state law claims

See POP II, 971 F.3d at 731 n.1 (noting that such injuries suffice to establish

Article III standing but finding plaintiffs had failed to allege such injuries (quoting

Friends of the Earth, Inc. v. Laidlaw Envtl. Servs., Inc., 528 U.S. 167, 183 (2000) and

citing Lujan, 504 U.S. at 562–63 (“Of course, the desire to use or observe an animal

species, even for purely esthetic purposes, is undeniably a cognizable interest for

purposes of standing.”))). 5 The Court now proceeds to the merits.



5 As in the last case, Plaintiffs again fail to establish standing for their state law claims based on their

alleged status as municipal taxpayers. In POP II, the court held that Plaintiffs’ municipal taxpayer
status did not confer standing because they failed to identify both “an action on the city’s part that is
allegedly illegal” related to the City’s monetary expenditures or “adequately show[] that city tax dollars
will be spent on that illegal activity.” 971 F.3d at 736. So too here, and thus POP II controls. Plaintiffs
do not allege anything new on these points. Accordingly, even though they have standing for their

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       B.      Public Trust Violation (Count VI)

       In POP II and again here, Plaintiffs’ primary state law claim rests on the public

trust doctrine. [1]. As the Seventh Circuit succinctly explained, “the public trust

doctrine, established by American law in Illinois Central Railroad Co. v. Illinois,

prohibits a state from alienating its interest in public lands submerged beneath

navigable waterways to a private party for a private purpose.” POP II, 971 F.3d 722,

729 (7th Cir. 2020). It may only alienate such public land to a private party “if the

property will be ‘used in promoting the interests of the public’ or ‘can be disposed of

without any substantial impairment of the public interest in the lands and water

remaining.’” Id. (quoting Illinois Central, 146 U.S. at 453).

       Although this original doctrine only applied to “navigable waterways,” Illinois

has extended the doctrine to other land such that, once the “land has been dedicated

to a public purpose,…the government ‘holds the properties in trust for the uses and

purposes specified and for the benefit of the public.’” POP II, 971 F.3d at 730 (quoting

Paepcke v. Pub. Bldg. Comm’n of Chi., 263 N.E.2d 11, 15 (Ill. 1970)). This is precisely

how Jackson Park became public trust land pursuant to the Illinois Legislature’s

1869 grant. See § I, supra.

               1.      The Standard of Review Applicable to Plaintiffs’ Public
                       Trust Claim.

       In moving to dismiss Plaintiffs’ public trust claim, Defendants argue that

Illinois law affords different levels of deference to a legislature’s reallocation of public




state law claims (to the extent that the claims rest upon Defendants’ alleged illegal use of Jackson
Park), they do not have standing via any expenditure of City money related to the OPC site projects.

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trust land depending on whether the land constitutes never submerged, formerly

submerged, or presently submerged land. [29] at 20. Defendants contend that the

OPC site constitutes never submerged public land 6 and argue that Illinois law affords

great deference to the legislature’s reallocation of statutorily-created, never

submerged land pursuant to Paepcke, 263 N.E.2d at 15–16. [29] at 20–21. According

to Defendants, pursuant to Paepcke, the Court need only look to the Museum Act to

determine whether it reflects the requisite “manifestation of legislative intent” to

reallocate portions of Jackson Park here. [29] at 21.

        Plaintiffs disagree. They do not dispute that Jackson Park constitutes never

submerged land. Instead, they argue that Illinois law does not (or perhaps should

not) adjust its level of scrutiny based on the type of land at issue. [69] at 20 (arguing

that “[w]hether land was currently submerged, formerly submerged or never

submerged has absolutely nothing whatsoever to do with the appropriate level of

deference”). Plaintiffs contend that the Court cannot look solely to the Museum Act

because “[s]imple legislative authorization never satisfies the requisites of the public

trust doctrine.” Id. at 19. Plaintiffs argue that the Court must apply Wisconsin’s

five-part test, which Plaintiffs insist the Paepcke Court adopted as the standard to

resolve public trust reallocation disputes. Id. at 22 (quoting Paepcke, 263 N.E.2d at

19 and discussing Wisconsin’s five-part test set out in City of Madison v. State, 83

N.W.2d 674 (Wis. 1957)).




6 This was a hotly disputed issue in the prior case.See POP I, 385 F. Supp. 3d at 677–78 (discussing
the parties’ dispute and finding that Jackson Park constitutes never submerged land).

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      Here, Defendants’ approach prevails. Illinois applies the public trust doctrine

using varying levels of deference, based upon the property’s relationship to navigable

waterways. See, e.g., Paepcke, 263 N.E.2d at 15−19 (applying public trust doctrine to

never-submerged park land); Friends of the Parks v. Chi. Park Dist., 786 N.E.2d 161,

169−170 (Ill. 2003) (applying public trust doctrine to formerly submerged land); Lake

Michigan Fed’n v. United States Army Corp. of Eng’rs, 742 F. Supp. 441, 444−46 (N.D.

Ill. 1990) (applying public trust doctrine to presently submerged land). The Illinois

Supreme Court in Paepcke recognized that the Illinois legislature enjoys significant

control over allocation of statutorily created never-submerged public trust land.

There, the court considered allowing Chicago’s Public Building Commission, with the

Park District’s cooperation, to construct a school-park facility on never-submerged

land within Washington Park. Id. at 14. As in this case, the land at issue derived

from the 1869 Act. Id. at 13. The Paepcke Court affirmed the trial court’s dismissal

of plaintiffs’ challenge under the public trust doctrine because “sufficient

manifestation of legislative intent” existed to “permit the diversion and reallocation

contemplated” by defendants’ plan. Id. at 18−19.

      During oral argument on Defendants’ motion, Plaintiffs insisted that “there is

no hint in [Paepcke] of any deference that was given to the government.” [113] at

46:7–8. Not so. The Paepcke Court held that “courts can serve only as an instrument

of determining legislative intent as evidenced by existing legislation measured

against constitutional limitations” and “[i]n this process the courts must deal with

legislation as enacted and not with speculative considerations of legislative wisdom.”



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Id. This language plainly underscores deference to legislative intent over reallocation

of statutorily-created public use land.

        Further, contrary to Plaintiffs’ insistence, Paepcke did not adopt Wisconsin’s

five-factor approach to resolve reallocation disputes.                [69] at 22.      Although the

Paepcke Court noted the approach that Wisconsin had taken in two cases, it explicitly

held that the Wisconsin approach was “not controlling under the issues as presented

in this case” because there existed a statute that evinced the requisite legislative

intent. 263 N.E.2d at 19; see also Friends of the Parks v. Chi. Park Dist., 14-cv-9096,

2015 WL 1188615, at *5 (N.D. Ill. Mar. 12, 2015) (Lucas I) (noting that the “‘Wisconsin

test’ . . . was not adopted as applicable in public trust cases, and the Illinois Supreme

Court again declined to use the test in Friends of the Parks.” (citing Friends of the

Parks, 786 N.E.2d at 170)). Instead, the court merely commented that Wisconsin’s

factors “might serve as a useful guide for future administrative action.” 7 Paepcke,

263 N.E.2d at 19.

        Notably, although Plaintiffs insist that Paepcke adopted the Wisconsin

approach, they acknowledged in their brief, [69] at 23, and at oral argument, [113] at

30:15–21, 40:6–12, that the Seventh Circuit disagrees when it held:

        Once such land has been dedicated to a public purpose, the Illinois
        Supreme Court has explained, the government “hold[s] the properties in
        trust for the uses and purposes specified and for the benefit of the

7 At most, Paepcke suggests that, if no authorizing legislation exists from which a court can infer

legislative intent, then the Wisconsin factors may prove useful. For example, in Clement v. O’Malley,
the Appellate Court affirmed dismissal of a public trust claim relating to the Park District’s proposal
to construct a golf driving range in Jackson Park. 420 N.E.2d 533, 540–41 (Ill. App. Ct. 1981), af’d sub
nom. Clement v. Chi. Park Dist., 449 N.E.2d 81, 84 (Ill. 1983). There, the court found that there did
not exist any authorizing legislation from which the court could infer sufficient legislative intent, so
instead it applied the Wisconsin approach to affirm dismissal. Id.


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       public.” Paepcke, 263 N.E.2d at 15. Dedication to a public purpose isn’t
       an “irrevocable commitment[],” id. at 16, and judicial review of any
       reallocation is deferential, particularly if the land in question has never
       been submerged. Nonetheless, the doctrine requires courts to ensure
       that the legislature has made a “sufficient manifestation of legislative
       intent to permit the diversion and reallocation” to a more restrictive,
       less public use. Id. at 18.

POP II, 971 F.3d at 730. Plaintiffs argue that the Seventh Circuit “inelegantly

stitches together three disconnected statements” from Paepcke and “thus misstates”

its logic.   [69] at 23; see also [131] at 42:6–10, 48:20–49:2.      Despite Plaintiff’s

unfounded criticism, however, the Seventh Circuit’s interpretation controls here.

       Finally, Plaintiffs also argue that this case requires a “heightened degree of

scrutiny given both the lack of diligence and self-evident insider favoritism” that led

to the “flawed transactions that the City and Park District have entered into with the

Obama Foundation.” [1] ¶ 235. According to Plaintiffs, this purported heightened

scrutiny derives from the private trust context, which imposes fiduciary duties on

trustees; and thus, public trusts impose (or perhaps, should impose) the same

fiduciary obligations on government actors. [69] at 19–20. (“[A]ny trust over any kind

of resource, whether public or private, imposes a standard set of fiduciary duties.”).

Because of these purported fiduciary duties, Plaintiffs argue, this Court must

“second-guess” the “particular merits of legislative judgments” about reallocation of

any public trust land to counter “the evident dangers of self-interest [sic] political

actors.” Id. at 21.

       As Defendants rightly point out, [29] at 28, Illinois law does not impose public

trust fiduciary duties analogous to those in the private trust context, nor does it

recognize some “heightened scrutiny” based upon the concept of public trust fiduciary
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duties. This Court, sitting in diversity, must apply Illinois law as it exists, not as

Plaintiffs think it ought to be. As the Supreme Court instructs, “state law is to be

applied in the federal as well as the state courts and it is the duty of the former in

every case to ascertain from all the available data what the state law is and apply it

rather than to prescribe a different rule, however superior it may appear from the

viewpoint of ‘general law’.” West v. Am. Tel. & Tel. Co., 311 U.S. 223, 237 (1940).

Having done that above, the Court concludes that Illinois law affords considerable

deference to reallocation of statutorily-created public use land. Courts need only

examine whether there exists “‘sufficient manifestation of legislative intent to permit

the diversion and reallocation” at issue. Paepcke, 263 N.E.2d at 18). If it finds such

an intent, then any public trust claim fails as a matter of law.

             2.     Legislative Intent and The Museum Act

      The Court now looks to the legislative intent here. Defendants argue that the

Museum Act’s language reflects the requisite “manifestation of legislative intent.”

[29] at 23 (quoting 70 ILCS 1290/1). The Court agrees.

      The Museum Act explicitly authorizes cities and park districts with control or

supervision over public parks to:

      purchase, erect, and maintain within any such public park or parks
      edifices to be used as aquariums or as museums of art, industry, science,
      or natural or other history, including presidential libraries, centers, and
      museums.…

70 ILCS 1290/1 (emphasis added). The Museum Act also permits the City to contract

with private parties to build a presidential center:

      The corporate authorities of cities and park districts…[may] permit the
      directors or trustees of any corporation or society organized for the
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      construction or maintenance and operation of an aquarium or museum
      as herinabove described to erect, enlarge, ornament, build, rebuild,
      rehabilitate, improve, maintain, and operate its aquarium or museum
      within an public park…and to contract with any such directors or
      trustees of any such aquarium or museum relative to the erection,
      enlargement, ornamentation, building, rebuilding, rehabilitation,
      improvement, maintenance, ownership, and operation of such aquarium
      or museum.
Id. (emphasis added).

      Overall, this legislative directive states a clear, broad, comprehensive, and

definite intention to allow the City to contract with directors or trustees of the

museum (the Obama Foundation) to build a president center (the OPC) in a public

park (Jackson Park). See, e.g., People v. Pack, 862 N.E.2d 938, 940 (Ill. 2007) (“The

best indication of legislative intent is the statutory language, given its plain and

ordinary meaning.”).    The above quoted language also reflects the legislature’s

determination that presidential centers, as a type of museum, remain consistent with

a parcel’s designation as public parkland. See, e.g., Furlong v. S. Park Comm’rs.,

151 N.E. 510, 511 (Ill. 1926) (declining to enjoin South Park Commissioner’s efforts

to issue bonds to renovate the Fine Arts Building to include a museum—now the

Museum of Science and Industry—in Jackson Park, because park purposes “are not

confined to a tract of land with trees, grass and seats, but mean a tract of land

ornamented and improved as a place of resort for the public, for recreation and

amusement of the public.”); Fairbanks v. Stratton, 152 N.E.2d 569, 575 (Ill. 1958)

(upholding construction of an exposition building and auditorium—now McCormick

Place convention center—on submerged land under the public trust doctrine).




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Overall, the Illinois General Assembly, through the Museum Act, sufficiently

authorizes the construction and operation of the OPC in Jackson Park.

      Nonetheless, Plaintiffs argue that the reallocation here also violates the Public

Trust Doctrine because the 2018 Use Agreement essentially gave the Obama

Foundation the OPC site for free during which time the Obama Foundation will enjoy

exclusive use of it and derive all economic value from it. [69] at 32–33. They argue

that a trustee may never “transfer any property held in trust to a private party

unless, at the very least, he or she receives full compensation for the property

transferred.” [69] at 32. Plaintiffs acknowledge that the Use Agreement does not

explicitly grant the Obama Foundation exclusive use, but instead insist that

discovery must proceed to determine whether the Use Agreement is, in fact, a “lease

in disguise and reflective of a transfer equivalent to a sale.” [69] at 33. Overall,

Plaintiffs argue that, if the Use Agreement constitutes a lease equivalent to a sale,

then the Public Use Doctrine requires that the Obama Foundation pay the City “full

compensation” for the sale. Id.

      Plaintiffs rely heavily upon Friends of the Park v. Chicago Park Dist., 160 F.

Supp. 3d 1060, 1068 (N.D. Ill. 2016) (Lucas II), in which a court evaluated a Park

District proposal to enter into a 99-year ground lease with the Lucas Museum of

Native Arts under the Museum Act. [69] at 32–35. There, the court denied the

plaintiffs’ motion to dismiss public trust doctrine, due process and ultra vires claims,

finding that, inter alia, the 99-year ground lease, by its terms, suggested the

leaseholders were “owners” in a “constitutional sense” because it gave the



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leaseholders ownership rights over the museum facilities and other improvements,

and “exclusive control over the construction, maintenance and operation, repair and

management of the building.” Lucas II, 160 F. Supp. 3d at 1062–63, 1068.

       Even assuming that Lucas II was rightly decided (which this Court need not

address), that ruling is inapposite. First, it involved formerly submerged land, rather

than statutorily-created, never-submerged parkland, and thus the case involved a

different level of deference. Id. at 1063. Second, the ground lease at issue there

cannot be analogized to the 2018 Use Agreement here. The 2018 Use Agreement—

which Plaintiffs attach to the Complaint, [1-2], Ex. 2 (Ex. D)—unambiguously

provides that the City retains ownership over the OPC site. Id. §§ 2.1–2.2, 4.4.

Further, unlike the lease agreement with the private party in Lucas II, the Obama

Foundation will bear the cost to construct the OPC facilities, and then must give the

City ownership over the facilities upon completion. Id. Clearly, the City also does

not give up control over the OPC site: if the Foundation ceases to use the OPC for its

permitted purposes under the Use Agreement, the City may terminate the

Agreement. Id. §§ 6.1–6.2. And, as Defendants point out, [29] at 24, the 2018 Use

Agreement does not give the Obama Foundation the right to exclude the public from

the OPC site but requires it to remain open to the public during Park District hours,

[1-2] § 6.2(a)–(c).

       Simply put, the 2018 Use Agreement is not a lease agreement giving the

Obama Foundation effective “ownership” in the “constitutional sense.” Plaintiffs’

contrary allegations fail as a matter of law. See Forrest v. Universal Savs. Bank, F.A.,



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507 F.3d 540, 542 (7th Cir. 2007) (holding that a court need not credit allegations

contradicted by exhibits attached to a complaint).

      Overall, the Court finds that the OPC does not violate the public trust doctrine

as a matter of law, based upon the legislature’s manifestation of intent in the Museum

Act (which is all this Court must examine). Nonetheless, in the alternative, the Court

next analyzes Plaintiffs’ public trust claim based upon the level of scrutiny applicable

to formerly submerged public trust land for clarity and finality.

             3.     Formerly Submerged Land: No Corresponding Benefits
                    Test

      The scrutiny used for formerly submerged land holds that a diversion of

formerly submerged parkland violates the public trust only if it: (1) does not contain

sufficient legislative authorization, pursuant to Paepcke; and (2) primarily benefits a

private entity, with no corresponding public benefit. See Friends of the Parks, 786

N.E.2d at 169−70 (citing Paepcke, 263 N.E.2d at 21).

      In Friends of the Parks, the Illinois Supreme Court examined a project to

improve Burnham Park and Soldier Field and give the Chicago Bears football team

certain use rights. Id. The plaintiffs argued that the project (and the legislation that

permitted it) violated the public trust doctrine because it allowed a private party (the

Bears) to use and control Soldier Field “for its primary benefit with no corresponding

public benefit.” Id. The court disagreed. It first noted that the City will continue to

own Burnham Park and Soldier Field and did not abdicate control or ownership to

the Bears. It also found that the legislature, through the Sports Facilities Authority

Act, had manifested clear intent for the park’s reallocation and renovations. And,


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finally, it found that the public will benefit from the improvements to Soldier Field

and Burnham Park. Id. Notably, it also held that the project did not violate the

public trust doctrine even if the Bears would also benefit from it. Friends of the Parks,

786 N.E.2d at 170.

        The same holds true here as a matter of law. As discussed above, the City did

not abdicate control or ownership of the OPC site to the Obama Foundation and the

Museum Act manifests clear legislative intent for the OPC. Further, the Museum

Act confirms that presidential centers, like the OPC here, confer a public benefit

because they “serve valuable public purposes, including, but not limited to, furthering

human knowledge and understanding, educating and inspiring the public, and

expanding recreational and cultural resources and opportunities.” 70 ILCS 1290. 8

This explanation of the OPC’s public benefits aligns with well-established caselaw.

See, e.g., Furlong, 151 N.E. at 511 (Ill. 1926) (finding that because parks exist as

places “of resort for the public, for recreation and amusement” the “construction and

maintenance of a building for museums, art galleries…and many other purposes, for

the public benefit” are legitimate park purposes.”); Fairbanks, 152 N.E.2d at 575

(upholding construction of an exposition building and auditorium on submerged land




8 While Friends of the Parks was decided on summary judgment, the court focused on the legislation

and the government’s stated purpose for the project, rather than engage in an independent analysis of
the purpose. It also relied on People ex rel City of Urbana v. Paley, 368 N.E.2d 915 (Ill. 1977) in which
the Illinois Supreme Court found redevelopment of blighted public land conferred a public benefit after
reviewing the government’s stated public purpose for the redevelopment project. See Friends of the
Parks, 368 N.E.2d at 910–11. Here, because the legislature set out the public benefit of presidential
centers and also allowed the City to contract with third parties to construct, maintain and operate
such a facility, Plaintiffs’ public trust doctrine claim can be resolved as a matter of law on a motion to
dismiss even under the heightened standard for formerly-submerged public trust land.

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in Burnham Park because they were “in the public interest” and thus did not violate

the public trust doctrine).

       Plaintiffs insist the OPC primarily benefits the Obama Foundation because

the 2018 Use Agreement gives to the Obama Foundation all “economic value”

associated with it while the City (and public) get virtually nothing in return. [69] at

33.   Even if the Court assumes that the Obama Foundation will enjoy all the

“economic value”—even though that allegation finds no support in 2018 Use

Agreement 9—that does not invalidate it under Friends of the Park’s heightened

scrutiny test. Plaintiffs’ narrow focus on the OPC’s “economic value” ignores the

incontrovertible fact that public benefits are not measured merely in terms of

“economic value.” As set out above, the OPC will confer public benefits even if they

are not “economic” in nature. And, as the Friends of the Park Court made clear,

private parties may enjoy private benefits from public land use without it running

afoul of the public trust doctrine. 786 N.E.2d at 169–70.

       Accordingly, even accepting Plaintiffs’ unsupported “economic value”

allegation as true, the OPC does not violate the public trust doctrine under the

Friends of the Parks heightened burden standard applicable to formerly-submerged

lands. Accordingly, Plaintiffs’ public trust doctrine claim still fails as a matter of law

under the heightened (and inapplicable) standard.


9 The 2018 Use Agreement’s terms demonstrate that the City will enjoy some “economic value.” First,

the Obama Foundation will bear the cost to construct the OPC, which it must then give to the City.
This certainly constitutes a significant “economic value” for the City. It also provides that all the
revenue the Obama Foundation collects shall go to the “the use, maintenance and management” of the
OPC or shall be deposited into the Obama Foundation’s Endowment whose sole purpose is to pay “the
costs to operate, enhance and maintain” the OPC. [1-1], Ex. 2 (Ex. D § 6.9). Thus, the City will enjoy
some of the “economic value” of revenue used to maintain property and facilities that it owns.

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      C.     Ultra Vires Claim (Count VII)

      Plaintiffs also bring a claim that the City and Park District acted ultra vires

based on multiple theories. First, Plaintiffs allege that the Park District’s transfer of

the Jackson Park site to the City violated the Illinois Property Transfer Act, 50 ILCS

605/1, and contravened law that prohibits “the Park District from a transfer to a non-

governmental entity without an ‘exchange for other real property of substantially

equal or greater value.’” Id. ¶¶ 239–40. Second, Plaintiffs allege that the 2018 Use

Agreement violates the Museum Act, which “requires that a lease be utilized by the

City.” Id. ¶ 241. Third, in their Response, Plaintiffs contend that the City acted ultra

vires during the federal review process, when it failed to review alternatives and

“exerted improper dominance and control over” the process. [69] at 43.

      In moving to dismiss, Defendants argue that a plain reading of the relevant

statutes dispels Plaintiffs’ theories. [29] at 23–24, 30–33. They also argue that

Plaintiffs fail to allege how the City acted beyond its authority during the federal

review process; and even if they could marshal such evidence, the City’s actions

during that process have no bearing on whether the Park District could transfer the

land to the City, or whether the Foundation may use the OPC site. [78] at 18. Again,

the Defendants prevail on the record here.

             1.     The Property Transfer Act Authorizes the Park District’s
                    Transfer to the City.
      Plaintiffs’ ultra vires theory based upon the Property Transfer Act, 50 ILCS

605/1, rests on Section 2 of the Act, which provides:

      If the territory of any municipality shall be wholly within, coextensive
      with, or partly within and partly without the corporate limits of any

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      other municipality . . . and the first mentioned municipality (herein
      called “transferee municipality”), shall by ordinance declare that it is
      necessary or convenient for it to use, occupy or improve any real estate
      held by the last mentioned municipality (herein called the “transferor
      municipality”) in the making of any public improvement or for any
      public purpose, the corporate authorities of the transferor municipality
      shall have the power to transfer all of the right, title and interest held by
      it immediately prior to such transfer, in and to such real estate, whether
      located within or without either or both of said municipalities, to the
      transferee municipality upon such terms as may be agreed upon by the
      corporate authorities of both municipalities . . .

Id. at 605/2 (emphases added). Plaintiffs contend that this provision only authorizes

the Park District to transfer the Jackson Park site if the transferee itself (here, the

City) will “use, occupy, or improve” the site. [1] ¶¶ 239–40. Because, according to

Plaintiffs, the City impermissibly “transferred exclusive possession to the Obama

Foundation,” the Park District’s transfer violates the Property Transfer Act. Id.

      First, to the extent Plaintiffs’ claim rests on the theory that the 2018 Use

Agreement gives the Obama Foundation “exclusive possession” of the OPC site, the

Court already found that it does not. It only gives the Obama Foundation the right

to use, maintain, operate and improve the OPC site. [1-1], Ex. 2 (Ex. D).

      Second, Plaintiffs fail to read the relevant statutory provisions in context. The

Property Transfer Act remains silent as to whether municipalities can contract with

third parties to improve, operate or maintain transferred land. See 50 ILCS 605/2.

But the Museum Act expressly authorizes the City to contract with third parties “to

erect, enlarge, ornament, build, rebuild, rehabilitate, improve, maintain, and

operate” a presidential center. 70 ILCS 1290/0.01. Further, Article VII, § 10(a) of the

Illinois Constitution permits units of local government to “contract and otherwise

associate with individuals, associations, and corporations” in any manner not
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                                                                                      A.023
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prohibited by law. That same section also allows local governments to “transfer any

power or function, in any manner not prohibited by law or ordinance” to other units

of local government.         Likewise, the Intergovernmental Cooperation Act, 5 ILCS

220/2−3, allows units of local governments to exercise, combine, transfer, and “enjoy

jointly” any of their “powers, privileges, functions, or authority,” except where

expressly prohibited by law. Read together with the Property Transfer Act, these

provisions demonstrate that: (1) the Park District and City, as individual units of

local government, can separately contract with third parties on land that they already

own; and (2) either of them can transfer land to the other, along with their power to

contract with third parties on that land.

        Moreover, Plaintiffs’ proposed reading of the Property Transfer Act would

create the absurd result of prohibiting transferee municipalities from ever

contracting with engineers, architects, or builders to improve or manage a site. This

Court rejects Plaintiffs’ approach, and instead reads each of the relevant provisions

of Illinois law in context, together, and gives each statute effect according to its plain

terms. 10 Accordingly, Plaintiffs fail as a matter of law to make out a claim that the

Park District acted ultra vires when it transferred the property to the City. 11



10 Even if the Property Transfer Act’s silence could somehow be construed as ambiguous (which it is

not), this Court would reach the same result by reading each provision and construing them together
(Property Transfer Act, Museum Act, Intergovernmental Cooperation Act, and Article VII, section
10(a) of the Illinois Constitution). People v. 1946 Buick, VIN 34423520, 537 N.E.2d 748, 750 (Ill. 1989)
(Illinois recognizes the doctrine of in pari materia, but only to resolve statutory ambiguities).
11 Plaintiffs’ Complaint also alleges that the Park District acted ultra vires because the Park District

cannot transfer public property “to a non-governmental entity without an ‘exchange for other real
property of substantially equal or greater value.’” Id. ¶¶ 239–40. The Complaint does not identify the
legal basis for this allegation, and Plaintiffs fail to address it in their opposition. To the extent this
refers to the Illinois Park District Code, 70 ILCS 1205/10-7, which includes the Complaint’s quoted

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                2.      The Museum Act Does Not Require A Lease

        Plaintiffs next allege that the City acted ultra vires because the Museum Act

requires the City to lease the site to the Obama Foundation. [1] ¶ 241. 12 Again, not

so. The Museum Act states that the City “may enter into a lease for an initial term

not to exceed 99 years . . . to erect, enlarge, ornament, build, rebuild, rehabilitate,

improve, maintain, and operate” a presidential center “together with grounds

immediately adjacent”. 70 ILCS 1290/0.01 (emphasis added). But it does not require

a lease. Instead, the Museum Act’s prior sentence—not relating to leases—controls.

It authorizes the City to “contract” with “the directors or trustees of any corporation

or society organized for the construction or maintenance and operation of” a

presidential center relative to its “erection, enlargement, ornamentation, building,

rebuilding, rehabilitation, improvement, maintenance, ownership, and operation.” Id

The 2018 Use Agreement constitutes such a “contract.” Accordingly, as a matter of

law, the City did not act ultra vires when it entered into it.

                3.      Plaintiffs Fail to Identify Any other Ultra Vires Actions.

        The Court has now addressed Plaintiffs’ ultra vires claims as set forth in their

Complaint. [1] ¶¶ 239–41. Nonetheless, in their Response, Plaintiffs conclusorily

state that their Complaint “identifies many activities that are ultra vires” including

the City’s conduct during the federal review process.                    [69] at 43.      Specifically,


“exchange” language, id. § 10-7(b), Plaintiffs’ theory fails as a matter of law because the Park District
Code does not apply to the Chicago Park District. See id. § 1-2(d).
12 Of course, elsewhere Plaintiffs allege that the 2018 Use Agreement, in fact, constitutes a lease

agreement (albeit an impermissible one). Because the Court found that the 2018 Use Agreement by
its plain terms does not constitute a Lease Agreement, the Court will still consider Plaintiffs’ ultra
vires argument notwithstanding these inconsistent allegations.

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Plaintiffs assert that the City failed to review certain alternatives and “exerted

improper dominance and control over” the federal review process. Id. (citing [1] ¶¶

74, 88–89, 190–92). With respect to its federal review process allegations, Plaintiffs

fail to explain how such conduct, even if true, constitutes an ultra vires act. 13 To the

extent Plaintiffs imply that the City’s conduct during the federal review process

rendered ultra vires the 2018 Use Agreement or land transfer, this too fails to state

a plausible claim. As Defendants point out, the City’s actions in the 2018 federal

review process—undertaken after the Park District transferred the land to the City

and after the City executed the 2018 Use Agreement—have no bearing on whether

state law authorized the land transfer or the 2018 Use Agreement.

        Finally, although Plaintiffs assert that the Complaint somehow “identifies

many activities that are ultra vires,” [69] at 43, the Court need not accept as true such

conclusory allegations, nor will it attempt to divine other theoretical ultra vires acts

from the Complaint’s factual allegations that Plaintiffs have failed to develop in their

briefing. In short, Plaintiffs’ Complaint fails to allege a plausible ultra vires claim,

and thus, it is dismissed without prejudice.

        D.      Illinois Constitution Article VIII, Section 1 (Count VIII)

        Plaintiffs’ Count VIII alleges that the 2018 Use Agreement also violates Article

VIII, Section 1 of the Illinois Constitution. [1] ¶¶ 242–45. This provision, known as

the Public Purpose Clause, states that “[p]ublic funds, property or credit shall be used




13 Plaintiffs bring separate federal claims based, in part, on these federal review process allegations.

The Court offers no opinion here about the viability of those claims.

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only for public purposes.” Ill. Const. Art. VIII, § 1(a). Plaintiffs allege that the Use

Agreement violates this clause because it transfers public property to the Obama

Foundation for its sole private benefit and at public expense. [1] ¶¶ 242–45.

      In order to “proceed under article VIII, section 1(a) of the Illinois Constitution,

facts must be alleged indicating that governmental action has been taken which

directly benefits a private interest without a corresponding public benefit.” Empress

Casino Joliet Corp. v. Giannoulias, 896 N.E.2d 277, 293 (Ill. 2008) (quoting Paschen v.

Vill. of Winnetka, 392 N.E.2d 306 (Ill. App. Ct. 1979)). Yet, “what is for the public

good and what are public purposes are questions which the legislature must in the

first instance decide.” Empress Casino, 896 N.E.2d at 294. Thus, “the judgment of

the legislature is to be accepted in the absence of a clear showing that the purported

public purpose is but an evasion and that the purpose is, in fact, private.” Id.

      Defendants move to dismiss, arguing that the Museum Act and City’s 2018

Ordinance, attached to the Complaint, evinces a clear “public benefit” and Plaintiffs

fail to “make a threshold showing that the findings are evasive and that the purpose

of the legislation is principally to benefit private interests.” [29] at 33 (quoting

Friends of the Parks, 786 N.E.2d at 166–67). In response, Plaintiff insist that their

claim must proceed to discovery to determine “who is a primary beneficiary” of the

OPC. [69] at 46. They also contend that the City clearly intended to benefit the

Obama Foundation and the Complaint alleges numerous “dislocations involved in

bringing the OPC to Jackson Park” that support their claim. Id. Once again,

Defendants win the day.



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        First, Plaintiffs contend that the key question under the Public Purpose Clause

is whether the “primary beneficiary” is the public or a private entity. Id. This implies

that the test is comparative. Not true. Illinois law asks whether there exists a public

benefit, and if the “purpose sought to be achieved by the legislation is a public one

and it contains elements of public benefit, then the question of how much benefit the

public derives is for the legislature, not the courts.” Empress Casino, 896 N.E.2d at

295. Therefore, if the OPC site serves a public purpose, then it does not matter if the

Obama Foundation will also enjoy a private benefit or precisely how much of a benefit

it may enjoy. See, e.g., People ex rel. City of Urbana v. Paley, 368 N.E.2d 915, 921 (Ill.

1977) (“[I]f the principal purpose and objective in a given enactment is public in

nature, it does not matter that there will be an incidental benefit to private interests.”

(collecting cases)).

        As discussed above, the Museum Act clearly indicates that museums and

presidential centers like the OPC have a public purpose and provide important public

benefits. Here, Plaintiffs allege nothing to demonstrate that this legislative finding

is evasive or deceptive. 14 That ends the matter. But Plaintiffs disagree, asserting

that their Complaint purportedly contains numerous “dislocations involved in

bringing the OPC to Jackson Park” that support the claim. [69] at 46. Plaintiffs do

not explain what “dislocations” they mean by this undeveloped argument, but




14 Plaintiffs also admit that the City’s 2018 Ordinance outlined “extensive benefits” to the public, [1]

¶ 66, but allege that the City rubber-stamped the 2018 Ordinance and Use Agreement to benefit the
Obama Foundation, id. ¶¶ 7, 44, 244. Regardless of these conclusory allegations, however, Plaintiffs
fail to allege how the Museum Act’s findings were, in fact, evasive or deceptive.

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presumably they refer to the roadwork, environment remediation, and construction

of other facilities around the OPC site. See, e.g., [1] ¶¶ 67, 74, 222.

       Nevertheless, such “dislocations” are not material to whether the OPC site has

a public purpose. 15 Even if these “dislocations” constitute costs, Plaintiffs fail to

explain how they undermine the OPC’s public purpose set out in the Museum Act.

Plaintiffs fail to cite any legal authority that no public purpose exists if the record

also includes incidental public costs, 16 or that the Public Purpose Clause requires that

property be used for public purposes that confer the highest net public benefit (as

defined by a court, rather than the legislature). Based upon the clear legislative

determination that the OPC site has a public purpose and confers a public benefit,

the Court denies Count VIII as a matter of law.

       E.      Violation of Illinois Constitution Takings Clause (Count IX)

       In the prior case before this Court, the plaintiffs asserted a due process claim

based upon the US Constitution’s Fifth Amendment Takings Clause. This Court

dismissed the claim on summary judgment, finding that it failed as a matter of law

because the federal Takings Clause only applies to private property, not property that

is already public. POP I, 385 F. Supp. 3d at 686. The Seventh Circuit affirmed,

holding that: (1) the Takings Clause only applies to private property and under

Illinois law, public trust beneficiaries do not have a private property interest in public


15 As the Seventh Circuit noted during its discussion of standing, the City’s projects are not relevant

to plaintiffs’ claims over the transfer or use of the OPC site. See POP II, 971 F.3d at 735. The same
reasoning applies equally here.
16 Taking such a theory to its logical conclusion, the government would always violate the Public

Purpose Doctrine when it used public funds because, by definition, any such use imposes public costs
(i.e., the money itself).

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trust land; and (2) regardless, the Takings Clause only calls for “just compensation”

and the plaintiffs sought only declaratory and injunctive relief. POP II, 971 F.3d at

737.

        Unsatisfied, Plaintiffs seek another bite at the apple with their takings clause

theory, but this time bring it under the Illinois Constitution’s Takings Clause. [1]

¶¶ 246–50. 17 They allege that, as Illinois citizens, they “have a beneficial fractional

ownership interest in such public trust property” and Defendants violated Illinois’

Taking Clause as to them through its “giveaway and damage” of Jackson Park

“without payment of any compensation, let alone just compensation.” Id. ¶¶ 249–50.

Again, they only seek declaratory and injunctive relief. Id. at 81–82.

        Plaintiffs’ new version of the old claim fares no better, and indeed, it runs

directly contrary to the Seventh Circuit’s findings in POP II. Like the federal Takings

Clause, Illinois’ Takings Clause states that “[p]rivate property shall not be taken or

damaged for public use without just compensation as provided by law.” Ill. Const. Art.

I § 15 (emphasis added). As the Seventh Circuit held, “the Illinois cases make clear

that the public trust doctrine functions as a restraint on government action, not as

an affirmative grant of property rights.” POP II, 971 F.3d at 737. As a matter of law,



17 Of course, the Illinois’ Takings Clause is coterminous with its federal counterpart generally, and

coterminous specifically with respect to “what constitutes a taking.” Hampton v. Metro Water
Reclamation Dist. Of Greater Chi., 57 N.E.3d 1229, 1240 (Ill. 2016). Nonetheless, Plaintiffs contend
that their reassertion of a rejected claim possesses merit, notwithstanding the Seventh Circuit’s clear
ruling, because the Seventh Circuit noted that “even if the [public trust] doctrine conferred a property
interest on members of the public, that interest would not necessarily qualify for protection under the
[Federal] Constitution.” [69] at 44 (quoting POP II, 971 F.3d at 737 n.5). The Seventh Circuit,
however, also found that Illinois does not confer upon the public a property interest in public trust
land. See POP II, 971 F.3d at 737. Thus, Plaintiffs fail to present any good-faith reason to revisit the
Takings Clause issue, and their efforts at a “do-over” border on the frivolous.


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                                                                                                 A.030
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“absent a ‘built in’ cause of action and special property interest given by statute,”

Illinois citizens do not have a beneficial fractional ownership interest in public trust

property. Paepcke, 263 N.E.2d at 17 (holding that owners of property adjacent to or

in the vicinity of public use parks do not have a private property interest in those

parks). Thus, Plaintiffs have no private property interest in Jackson Park. This

proves dispositive of Plaintiffs’ state Takings claim as a matter of law. The Court

dismisses Count IX with prejudice.

      F.     Plaintiff’s Procedural and Substantive Due Process Claim
             Pursuant to Illinois Constitution Article I, Section 2 (Count XII)
      In the prior case before this Court, the plaintiffs also brought a federal

procedural due process claim. The Seventh Circuit affirmed dismissal on summary

judgment. POP II, 971 F.3d at 737–38. Now, Plaintiffs try again, this time bringing

a state law procedural and substantive due process claim. [1] ¶¶ 259–63. They allege

that the City and Park district violated their state due process rights by allowing the

Obama Foundation to control decision-making, and “by rubber stamping” the

Foundation’s demands to transfer critical public trust land to it. Id. They also allege

that the City accelerated the improper approval process during the ongoing

coronavirus pandemic, which curtailed Plaintiffs’ rights to meaningfully participate

in the City’s meetings and reviews. Id. ¶ 264. Defendants move to dismiss arguing

the claim fails as a matter of law. [29] at 41–44.

      Like its federal counterpart, Illinois due process protections “pertain to

deprivations of life, liberty or property” and a procedural due process claim cannot

succeed without a threshold showing that the government interfered with one of these


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                                                                                  A.031
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protected interests. See Big Sky Excavating, Inc. v. Ill. Bell-Tel. Co., 840 N.E.2d 1174,

1186 (Ill. 2005) (“If no protected interest is present, due process protections are not

triggered”). As discussed, Plaintiffs do not have a property interest in Jackson Park.

Thus, Plaintiffs fail to allege a protected interest and their procedural due process

claim does not get off the ground.

       Regardless, even if Plaintiffs possessed a cognizable property interest,

Plaintiffs fail to adequately allege any deprivation of that interest. The Court found

above that the General Assembly—through the Museum Act—authorized the OPC.

Further, Plaintiffs’ Complaint agrees that the City took four separate votes to

approve aspects of the OPC. [1] ¶¶ 42, 58–63. As the Seventh Circuit held in

affirming dismissal of the federal due process claims in the last case, “legislative

determination provides all the process that is due” and if “one legislative

determination is enough, then five determinations are overkill.” POP II, 971 F.3d at

738. The same holds true for Plaintiffs’ state law procedural due process claim and

it fails as a matter of law. 18

       Turning to Plaintiffs’ substantive due process claim, Defendants argue that the

City’s 2018 Ordinance approval must only meet the rational basis test. [29] at 43.

Plaintiffs disagree, arguing that Paepcke requires a heightened showing because it




18 Plaintiffs complain that the City’s votes merely “rubber-stamped” the Obama Foundation’s demands.

But this characterization simply attacks the elected officials’ internal reasoning in voting in favor of
the OPC, not whether votes took place pursuant to a legislative process. Plaintiffs also assert, without
support, that the coronavirus pandemic curtailed their ability to participate in the City’s meetings
about the OPC. But Plaintiffs fail to explain how the coronavirus pandemic could have any bearing
on their ability to meaningfully participate in meetings and votes, especially ones which all occurred
in 2018 or earlier.

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would be pointless to confer standing to sue if “some low rational basis test” always

applies. [69] at 42.

       The Court already found that Paepcke affords significant deference to decisions

involving statutorily-created public trust land. Nothing in that opinion indicates that

courts should apply a heightened standard to a substantive due process claim over

such legislative decisions. The rational basis test applies.

       Under Illinois law, a rational basis exists if the Court can “hypothesize” one,

even if it is “based on rational speculation unsupported by evidence or empirical data”

and even if that basis did not actually motivate the legislative action. People ex rel.

Lumpkin v. Cassidy, 703 N.E.2d 1, 4 (Ill. 1998). Here, the Museum Act offers a

rational basis for the 2018 Ordinance and the OPC: “furthering human knowledge

and understanding, educating and inspiring the public, and expanding recreational

and cultural resources and opportunities.” 70 ILCS 1290/0.01. The 2018 Ordinance’s

findings also set out reasons. [1-1], Ex. 2. There also exists a rational basis for the

City to allow a third party to operate the OPC site where that third party’s sole

purpose relates to the OPC and where it will cover the cost to build the facilities

(which the City will then own).

       Of course, Plaintiffs believe that any public benefits that the OPC may provide

do not compare, in their view, to the benefits that Jackson Park provided in its former

glory. But as the Paepcke Court emphasized:

       [T]he issues presented in this case illustrate the classic struggle between
       those members of the public who would preserve our parks and open
       lands in their pristine purity and those charged with administrative
       responsibilities who, under the pressures of the changing needs of an

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       increasingly complex society, find it necessary, in good faith and for the
       public good, to encroach to some extent upon lands heretofore considered
       inviolate to change. The resolution of this conflict in any given case is
       for the legislature and not the courts.

Paepcke, 263 N.E.2d at 21. There exists a rational basis for the 2018 Ordinance.

Thus, Plaintiffs’ substantive due process claim fails as a matter of law.

       G.      Illinois Constitution—Improper Delegation of Authority (Count
               XI)
       Plaintiffs’ Count XI alleges that the City violated Article II, Section 1 of the

Illinois Constitution because it improperly delegated to the Obama Foundation its

decision-making authority about the location and design of the OPC. [1] ¶ 256. To

support this allegation, Plaintiffs rely on the following clause in the 2015 Ordinance:

       WHEREAS, While the City Council is confident in the quality and
       thoroughness of both UIC’s and UChicago’s proposals, the City defers to
       the sound judgment of the President and his Foundation as to the
       ultimate location of the Presidential Library.
Id. (quoting [1-1], Ex. 1 (2015 Ordinance)).

       Defendants move to dismiss, arguing that the ordinances and laws at issue

demonstrate, as a matter of law, that “only the appropriate legislative bodies have

determined what the law shall be with respect to use of the Jackson Park site.” [29]

at 38. 19 Plaintiffs disagree, arguing that the 2015 Ordinance does not speak “in terms

of mere ‘advice’ but of ‘deference’” to the Obama Foundation and, therefore, it

conferred “on a powerful private party an unfettered choice of location for its own

private development.” [69] at 37.



19 Defendants also comment that Article II of the Constitution may not apply to home rule municipal

governments like the City, but Defendants do not move to dismiss on that basis. [29] at 38 n.11.

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         Article II, Section 1 of the Illinois Constitution provides: “The legislative,

executive and judicial branches are separate.                No branch shall exercise powers

properly belonging to another.” [1] ¶ 258. Illinois has long held, however, that while

the “legislature may not divest itself of its proper functions, or delegate its general

legislative authority, it may still authorize others to do those things which it might

properly, yet cannot understandingly or advantageously do itself.”                       Hamann v.

Lawrence, 188 N.E. 333, 335 (Ill. 1933). 20

         The 2015 Ordinance found that the City identified numerous locations

proposed by University of Illinois–Chicago (“UIC”) and University of Chicago

(“UChicago”), and noted various benefits, risks and challenges as to each. [1-1], Ex.

2. Although the 2015 Ordinance states that “the City defers to the sound judgment

of the President and his Foundation as to the ultimate location of the Presidential

Library”, this plainly refers to the Foundation’s ongoing nationwide selection process

and the City’s desire to offer proposals to the Obama Foundation that give “our City

the greatest chance for selection” by the Foundation. Id. The 2015 Ordinance also

makes clear that, if the Foundation likes a site located in a Chicago parkland, then




20 Cases that consider nondelegation under the federal constitution reveal that Plaintiffs’
nondelegation theory—which is sometimes referred to as the private nondelegation doctrine—may
flow from concepts of due process rather than the provision on which they rely. See, e.g., Carter v.
Carter Coal Co., 298 U.S. 238, 311 (1936) (relying on the Fifth Amendment’s due process clause to
invalidate a statute that gave a group of coal producers the right to set regulations to bind the coal
industry). But see Dep’t of Transp. v. Ass’n of Am. R.Rs., 135 S. Ct. 1225, 1237–38, 1252–53 (Alito, J.
and Thomas, J. concurring) (implying that the private nondelegation doctrine is rooted in the
Constitution’s Vesting Clauses). Overall, the exact contours of this doctrine remain uncertain under
both the U.S. Constitution and the constitutions of the states, but the Court need not enter into this
ongoing constitutional debate, because the record shows that the City did not delegate its decision-
making authority to the Obama Foundation.

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the City will need to “introduce a separate ordinance authorizing the development

construction and operation of the Presidential Center on the Selected Site.” Id.

      Read in full, the 2015 Ordinance did not abdicate the City’s decision-making

authority regarding public parkland use to the Obama Foundation.            Instead, it

reaffirmed its desire to have the OPC in Chicago and held that the City would

consider and vote on a second ordinance if the Obama Foundation wished to build

and operate the OPC on public parkland. And that is exactly what happened: the

City considered and approved the Jackson Park site through the 2018 Ordinance.

Simply put, Plaintiffs’ claim fails as a matter of law because the 2015 and 2018

ordinances belie their allegations. The Court dismisses Count XI with prejudice.

      H.     Violation of Illinois Constitution Article I, Section 16 (Count
             XIII)
      Count XIII alleges that the City’s 2018 Ordinance, which approved the 2018

Use Agreement, violated Article I, Section 16 of the Illinois Constitution, which

states: “No ex post facto law, or law impairing the obligation of contracts or making

an irrevocable grant of special privileges or immunities, shall be passed.” [1] ¶¶ 265–

66 (quoting Ill. Const. Art. I, § 16). Plaintiffs maintain that the 2018 Use Agreement

constitutes an “irrevocable grant of special privileges” to the Obama Foundation

because it transferred to it “perpetual and largely full control over a large portion of

Jackson Park.” Id. ¶ 266.

      Plaintiffs’ theory fails as a matter of law. As the Court already found, the 2018

Use Agreement did not transfer ownership of the OPC site to the Obama Foundation

nor did it give the Foundation any irrevocable rights to it. Instead, it gives the Obama


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Foundation the right to use, maintain and build upon the land, provides that these

rights expire after 99 years, and states that the City may revoke the Foundation’s

use early under certain conditions.       Thus, the 2018 Use Agreement does not

constitute an irrevocable grant of special privileges. See, e.g., People v. Chi. Transit

Auth., 64 N.E.2d 4 (Ill. 1945) (finding no “irrevocable grant of special privileges” for

City ordinance that gave the Chicago Transit Authority certain rights); People v. City

of Chi., 182 N.E. 419 (Ill. 1932) (same regarding an Act relating to the City’s right to

grant permits to operate the local transportation system because the grant was

terminable for misuse and did not grant exclusive street rights).

      In addition, as Defendants correctly point out, Illinois law also states that a

contract or law giving special privileges to a certain group does not violate Article I,

Section 16 if there exists a “rational basis” for it. See DiSabato v. Bd. of Trustees of

State Emps.’ Ret. Sys. of Ill., 674 N.E.2d 852 (Ill. 1996) (finding that, even though the

State Employees’ Retirement System calculated benefits differently for police officers

than other employees, this did not violate the Special Privileges Clause because there

existed a rational basis to do so). As discussed above, there exists a rational basis for

the 2018 Use Agreement and any privileges that it affords the Obama Foundation.

Accordingly, Plaintiffs’ Count XIII fails as a matter of law.

      I.     Violation of Illinois State Agency Historic Preservation Act
             (Count XV)

      Plaintiffs’ final state law claim relies on Illinois State Agency Historic

Preservation Act, 20 ILCS 3420. Plaintiffs allege the Defendants violated this act by

failing to review alternatives to the OPC site project given its adverse effects on


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historic resources (here Jackson Park, Midway Plaisance, and Chicago Boulevard

Historic District). [1] ¶¶ 280–88. Plaintiffs bring this claim as an alternative to their

federal claims for violations of the Department of Transportation Act § 4(f) (Count I);

National Environmental Policy Act (Count II); and National Historic Preservation

Act, § 106 (Count IV). Id.

      Defendants move to dismiss arguing that Illinois’ State Agency Historic

Preservation Act does not apply where there has been a federal Section 106 review,

which occurred in this case. [29] at 46. In response, Plaintiffs agree that Illinois’

State Agency Historic Preservation Act does not apply if a federal Section 106 process

is applicable, but they insist their claim may still be viable because the “federal

agencies improperly declined review of the adverse effects of the OPC based on what

they claimed were purely ‘local’ issues associated with” it. [69] at 40. That is,

Plaintiffs agree that their state law claim fails if the federal review improperly

declined to review alternatives, because then federal review will need to be reopened

and will take precedence. Id. But, they argue, if the federal review properly avoided

a review of alternatives, then the Illinois State Agency Historic Preservation Act

applies. Id.

      As a matter of law, the plain language of the Illinois State Agency Historic

Preservation Act easily defeats Plaintiffs’ theory.         It states that, when an

“undertaking is being reviewed pursuant to Section 106 of the National Historic

Preservation Act of 1966, the procedures of this law shall not apply.” 20 ILCS

3420/4(g). Plaintiffs identify no authority that conditions non-application on the



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findings and breadth of the Section 106 review. Instead, the law clearly states it does

not apply to projects reviewed pursuant to Section 106, and even Plaintiffs’ own

Complaint admits that the “magnitude, location and funding of the proposed project

has triggered several major federal reviews” including a Section 106 review. [1] ¶ 2;

see also id. ¶¶ 75–85. Accordingly, the Illinois State Agency Historic Preservation

Act does not apply, and Plaintiffs’ Count XV fails as a matter of law.

V.    Conclusion

      For the foregoing reasons, the Court grants Defendants’ motions to dismiss

[28]. The Court dismisses with prejudice Counts VI, VIII, IX, XI, XII, XIII and XV

and dismisses without prejudice Count VII.

Dated: March 29, 2022


                                        Entered:



                                        ____________________________
                                        John Robert Blakey
                                        United States District Judge




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    Case: 22-3190    Document: 22         Filed: 02/16/2023    Pages: 128
                    UNITED STATES DISTRICT COURT
           FOR THE Northern District of Illinois − CM/ECF NextGen 1.6.3
                               Eastern Division

Protect Our Parks Inc, et al.
                                    Plaintiff,
v.                                                    Case No.: 1:21−cv−02006
                                                      Honorable John Robert Blakey
Pete Buttigieg, et al.
                                    Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Thursday, November 3, 2022:


        MINUTE entry before the Honorable John Robert Blakey: Civil Based on the
Parties' stipulations and submissions, the record before the Court, and the Court's
Memorandum Opinion denying Plaintiffs' request for preliminary injunction [94]
("Memorandum Opinion"), which found that the Plaintiffs failed to demonstrate a
likelihood of success on the merits of the Seven Federal Counts, and which was affirmed
on appeal, Protect Our Parks, Inc. v. Buttigieg, 34 F.4th 389 (7th Cir. 2022), the Court
determines that no genuine disputes of material fact exist in connection with the Seven
Federal Counts (Counts I through V, X, and XIV), and that final judgment is now
appropriate as to these counts. Enter Final Judgment Order. The remaining counts having
been previously dismissed, see [119], the Clerk shall enter final judgment for Defendants
and against Plaintiffs on all counts. All set dates and deadlines are stricken. Civil case
terminated. Mailed notice(gel, )




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
generated by CM/ECF, the automated docketing system used to maintain the civil and
criminal dockets of this District. If a minute order or other document is enclosed, please
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For scheduled events, motion practices, recent opinions and other information, visit our
web site at www.ilnd.uscourts.gov.




                                                                                A.040
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                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF ILLINOIS
                             EASTERN DIVISION


Protect Our Parks, Inc., et al.,

                           Plaintiffs,            Case No. 21-cv-02006

       vs.                                        Hon. John Robert Blakey

Pete Buttigieg, et al.,

                           Defendants.


                FINAL JUDGMENT IN FAVOR OF DEFENDANTS

        Before the Court is the Parties’ Stipulations and Proposed Order of Judgment,

 [138], which requests that the Court enter final judgment in favor of Defendants on

 all remaining counts before this Court, Counts I through V, X, and XIV (the “Seven

 Federal Counts”), as well as the Joint Supplemental Submission by All Parties in

 Support of Joint Stipulation [146].     The Parties have advised the Court that

 additional briefing beyond what they submitted in the preliminary injunction

 proceedings remains unnecessary; that no pertinent facts exist, other than what is

 contained in the Administrative Record, which stands complete on the docket, [112];

 and that no disputes of fact material exist concerning the disposition of the Seven

 Federal Counts.

        Based on the Parties’ stipulations and submissions, the record before the

 Court, and the Court’s Memorandum Opinion denying Plaintiffs’ request for

 preliminary injunction [94] (“Memorandum Opinion”), which found that the Plaintiffs

 failed to demonstrate a likelihood of success on the merits of the Seven Federal




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Counts, and which was affirmed on appeal, Protect Our Parks, Inc. v. Buttigieg, 34

F.4th 389 (7th Cir. 2022), the Court determines that no genuine disputes of material

fact exist in connection with the Seven Federal Counts. Accordingly, Defendants are

entitled to judgment by this Court as a matter of law, and judgment should be entered

for Defendants on these counts pursuant to Fed. R. Civ. P. 56 for the reasons set forth

in the Court’s Memorandum Opinion.

      In addition, Plaintiffs explicitly waive any arguments, claims, or theories as to

the Seven Federal Counts not advanced in their motion for preliminary injunction

and supporting memorandum. See, e.g., Puffer v. Allstate Ins. Co., 675 F.3d 709, 718

(7th Cir. 2012) (“It is a well-established rule that arguments not raised to the district

court are waived on appeal. Moreover, even arguments that have been raised may

still be waived on appeal if they are underdeveloped, conclusory, or unsupported by

law.”) (citations omitted).

      The remaining counts having been previously dismissed, see [119], the Clerk

shall enter final judgment for Defendants and against Plaintiffs on all counts. All set

dates and deadlines are stricken. Civil case terminated.

Dated: November 3, 2022
                                       ENTERED:


                                       ___________________________________
                                       John Robert Blakey
                                       United States District Judge




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ILND 450 (Rev.Case:   1:21-cv-02006
              10/13) Judgment in a Civil ActionDocument #: 149 Filed: 11/03/22 Page 1 of 1 PageID #:7638
                     Case: 22-3190    Document: 22     Filed: 02/16/2023 Pages: 128
                                 IN THE UNITED STATES DISTRICT COURT
                                                 FOR THE
                                    NORTHERN DISTRICT OF ILLINOIS

    Protect Our Parks Inc. et al,

    Plaintiff(s),
                                                                  Case No. 21 CV 2006
    v.                                                            Judge John Robert Blakey

    Pete Buttigieg, et al,

    Defendant(s).

                                             JUDGMENT IN A CIVIL CASE

Judgment is hereby entered (check appropriate box):

                    in favor of plaintiff(s)
                    and against defendant(s)
                    in the amount of $       ,

                             which      includes       pre–judgment interest.
                                        does not include pre–judgment interest.

            Post-judgment interest accrues on that amount at the rate provided by law from the date of this judgment.

            Plaintiff(s) shall recover costs from defendant(s).


                    in favor of defendant(s) Pete Buttigieg, et al
                    and against plaintiff(s) Protect Our Parks Inc. et al
.
            Defendant(s) shall recover costs from plaintiff(s).


                    other:

This action was (check one):

         tried by a jury with Judge      presiding, and the jury has rendered a verdict.
         tried by Judge      without a jury and the above decision was reached.
         decided by Judge John Robert Blakey.



Date: 11/3/2022                                            Thomas G. Bruton, Clerk of Court

                                                           G. Lewis , Deputy Clerk


                                                                                                      A.043
